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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


ASSOCIATION OF COMMUNITY
CANCER CENTERS, on behalf of itself and
its members; GLOBAL COLON CANCER
ASSOCIATION, on behalf of itself and its
members; NATIONAL INFUSION CENTER
ASSOCIATION, on behalf of itself and its
members; and PHARMACEUTICAL
RESEARCH AND MANUFACTURERS OF
AMERICA, on behalf of itself and its
members,                                           CIV. NO. 1:20-cv-03531
                   Plaintiffs,

       vs.

ALEX M. AZAR II, in his official capacity as
Secretary of the U.S. Department of Health
and Human Services; the U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; SEEMA VERMA, in
her official capacity of Administrator of the
Centers for Medicare and Medicaid Services;
CENTERS FOR MEDICARE AND
MEDICAID SERVICES; BRAD SMITH, in
his official capacity as the Director of the
Center for Medicare and Medicaid Innovation;
CENTER FOR MEDICARE AND
MEDICAID INNOVATION,
                        Defendants.

              EXPERT DECLARATION OF PROFESSOR AMITABH CHANDRA

                                         December 10, 2020
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     I, Amitabh Chandra, declare pursuant to 28 U.S.C. § 1746 as follows:

     I.       INTRODUCTION

                     Qualifications
1.        I am a professor at Harvard University, where I hold the Ethel Zimmerman Wiener
          Professorship of Public Policy at the Harvard Kennedy School and the Henry and Allison
          McCance Professorship of Business Administration at Harvard Business School. My
          research focuses on innovation, productivity, and cost-growth in health care as well as
          medical malpractice and racial disparities in health care. My work has been published in
          leading journals such as the American Economic Review, Journal of Political Economy, The
          New England Journal of Medicine, JAMA, and Health Affairs. I am also the chair editor of
          The Review of Economics and Statistics. My research has been featured in the New York
          Times, the Washington Post, CNN, Newsweek, and on National Public Radio.

2.        I am the recipient of the Upjohn Institute Dissertation Award, the Kenneth Arrow Award for
          best paper in health economics, the Eugene Garfield Award for the impact of medical
          research, and the National Institute for Health Care Management (NIHCM) research award.
          In 2012, I was awarded the American Society of Health Economists (ASHE) medal, which is
          awarded biennially to the economist age 40 or under who has made the most significant
          contributions to the field of health economics.

3.        In addition, I have testified before the U.S. Senate and the U.S. Commission on Civil Rights;
          have been a consultant to the RAND Corporation, Microsoft Research, the National
          Academy of Medicine, and the Blue Cross Blue Shield of Massachusetts Foundation; and
          have served as special commissioner on the Massachusetts Special Commission on Provider
          Price Reform. I am also a research associate at the National Bureau of Economic Research
          (NBER), and an elected member of the National Academy of Medicine and the National
          Academy of Social Insurance.

4.        Relevant to this case is that I serve on the Congressional Budget Office (CBO)’s Panel of
          Health Advisors and published papers in leading peer reviewed journals on the pricing of
          medicines, the incentives for innovation, orphan drugs, cost growth in US health care,
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           patient-cost sharing, and the relative merits of private insurers versus government in deciding
           what to cover. At Harvard Business School, I am the faculty chair of the new MS/MBA
           program in the life-sciences, and serve on the Board of the Blavatnik Fellowship in Life-
           Sciences Entrepreneurship.

5.         A detailed list of my experience and research publications, including all publications
           authored in the previous ten years, is included in my curriculum vitae, which is attached as
           Appendix A to this report.

                      Assignment
6.         I have been asked by Plaintiffs’ counsel to provide expert opinion analyzing the economic
           impacts of the Most Favored Nation (MFN) Rule. In particular, I have been asked to
           comment on the immediate harms, as well as the long term harms to and considerations for
           both Medicare Part B beneficiaries and the broader U.S. population that will be caused by the
           MFN Rule.

7.         In executing my assignment, I have relied on my own training and research; relevant
           literature; and publicly-available information. A list of the materials that I have relied upon is
           provided in Appendix B.

8.         I am being compensated at an hourly rate of $800. I also directed a team of employees from
           Analysis Group, Inc. to perform certain research activities in support of my declaration, and I
           receive compensation based on their work. My compensation is not contingent on my
           findings or on the outcome of this litigation. My work in this matter is ongoing, and I may
           amend or supplement my opinions and report if new documents become available or
           otherwise appropriate.


     II.      SUMMARY OF OPINIONS
9.         The Most Favored Nation Rule (hereafter, “MFN Rule”) attempts to reduce Medicare
           beneficiary drug costs by decreasing reimbursements for certain Medicare Part B drugs to the
           lowest observed price for each drug across a group of Organization for Economic Co-
           operation and Development (OECD) countries. The reduction in reimbursement is meant to
           force manufacturers to decrease drug prices in the United States (U.S.) over time and to
           increase their drug prices in the OECD countries. However, the MFN Rule is fundamentally
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             at odds with the U.S. approach for determining healthcare prices, fails to understand
             limitations on increasing prices in OECD countries, and will result in harm to the Medicare
             beneficiaries it is intended to benefit, as well as others.

10.          The size of the U.S. pharmaceutical market dwarfs that of other OECD countries. The U.S.
             market is approximately six times the size of the next largest developed market (Japan).1 Due
             to the dominance of the U.S. in the global pharmaceutical market and its largely market-
             based approach to healthcare, the U.S. is central to the development of novel and innovative
             life-saving therapies. The U.S. is a hub for pharmaceutical innovation, more innovative drugs
             are available in the U.S., and drugs tend to launch first in the U.S. Therefore, attempts to
             reduce U.S. prices through the MFN Rule will be detrimental to incentives for the innovation
             and development of new drugs, both in the immediate term and in the long run.

11.          The MFN Rule will sacrifice access to future medications in an effort to secure lower prices
             today. Lower Medicare Part B reimbursements will reduce U.S. revenues and manufacturers
             will have limited ability to raise prices internationally, leading to overall reductions in drug
             revenue. Considerable economic research indicates that decreased future revenues lead to
             declines in drug innovation. The MFN Rule targets the very drugs that are successful: those
             that are highly valuable and are used by providers to achieve good result for Medicare
             patients. By limiting the profitability of successful drugs, pharmaceutical companies will face
             a lower expected return on investment for making such medicines, which will diminish
             investors’ willingness to invest today in the risky process of drug development. This change
             in willingness to invest will manifest itself immediately upon implementation of the MFN
             Rule.

12.          In addition, in the immediate term, the stated goals of the MFN Rule will not be realized. The
             MFN Rule will have limited impact on Medicare patients’ out-of-pocket costs for Part B
             drugs, despite its stated intention to do so. Most Medicare beneficiaries currently have
             various forms of supplemental coverage that help mitigate out-of-pocket costs for Medicare
             Part B drugs. These include Medigap plans, supplemental employer plans, and dual Medicaid
             eligibility. While Medicare Advantage plans typically require cost sharing for Part B drugs
             through a coinsurance, there is a cap on total out-of-pocket spending.

      1
          See ¶ 42.
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13.       The MFN Rule will also cause many unintended consequences for providers and patients.
          The MFN Rule operates through two channels—reduced reimbursements, and a fixed add-on
          payment replacing the current percentage add-on payment. With the impending passage of
          this Rule, reduced reimbursements will force providers to limit inventories to avoid
          medicines where prices (that are set by manufacturers through various contracts) exceed
          reimbursements (which are set by the MFN Rule). This will lead to drug shortages, an
          increased likelihood that patients will be prescribed less effective treatments that are not
          covered by the MFN Rule, or both. Further, the MFN Rule will disproportionately affect
          certain practices that face higher fixed administrative fees for administering Part B drugs.
          Already reeling from the impacts of COVID-19, the additional strains of reduced
          reimbursement as well as fixed add-on payments will increase incentives for providers,
          particularly smaller providers, to consolidate or be acquired by larger hospitals, reducing the
          availability of care. Taken together, the MFN Rule will result in harm to patients by reducing
          access to treatment, as well as financial harm to providers who are unable to bridge the gap
          between acquisition costs and reduced reimbursements.

14.       The MFN Rule comes with a range of likely harmful consequences, such as restricting
          Medicare patient access to affected drugs, altering provider incentives to stock and
          administer the affected drugs, and reducing innovation and access incentives for future
          therapies. There are other approaches that would make drugs more affordable to seniors that
          do not carry these consequences. These strategies include removing or lowering deductibles
          and coinsurance associated with these medicines to limit patient cost-sharing. Congress has
          done this previously with Medicare Part D, by lowering patient cost-sharing associated with
          drug spending in the ‘donut hole,’ a coverage gap where patients were responsible for 100
          percent of drug costs.2 Alternatively, if the problem is that drugs are being used without
          regard to their underlying therapeutic value, payment-reforms could circumvent this problem.




   2
   “Closing the Medicare Part D Coverage Gap: Trends, Recent Changes, and What’s Ahead,” KFF.org, available at:
  https://www.kff.org/medicare/issue-brief/closing-the-medicare-part-d-coverage-gap-trends-recent-changes-and-
  whats-ahead.
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      III.        BACKGROUND

                         Introduction to Medicare
15.          In order to assess the implications of the MFN Rule, it is necessary to have a basic
             understanding of the Medicare program. Medicare is the federal health insurance program for
             people who are 65 or older, certain younger people with disabilities, and people with
             permanent kidney failure requiring dialysis or transplant.3 According to the Centers for
             Medicare and Medicaid Services (CMS), as of August 2020, 62.8 million Americans were
             enrolled in Medicare programs.4 CMS estimates that the total federal program spending on
             Medicare benefits for fiscal year (FY) 2019 was $779.6 billion, or 21 percent of total health
             spending.5,6

                         1. Medicare Program Structure
16.          Medicare is divided into four different parts (Medicare Parts A, B, C, and D), which help
             cover specific services.7

17.          Medicare Part A and Part B are known as Original Medicare and are administered through
             CMS. Medicare Part A covers inpatient hospital stays, care in skilled nursing facilities,
             hospice care, nursing home care (inpatient care in a skilled nursing facility that is not
             custodial or long-term care) and some at-home health care.8 CMS estimates that in calendar
             year (CY) 2018, 7.6 million people received services through Part A with $190.7 billion in
             federal spending.

18.          Medicare Part B, which I describe in more detail below, covers medically necessary and
             preventive doctors’ services, medical supplies, outpatient care, and drugs or biologics that are


      3
        “What’s Medicare?” Medicare.gov, accessed on December 9, 2020, available at: https://www.medicare.gov/what-
      medicare-covers/your-medicare-coverage-choices/whats-medicare.
      4
        “Medicare Enrollment Dashboard,” CMS.gov, accessed on December 9, 2020, available at:
      https://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-Reports/Dashboard/Medicare-
      Enrollment/Enrollment%20Dashboard.html.
      5
        “CMS Fast Facts,” CMS.gov, August 20, 2020, p. 13, available at: https://www.cms.gov/Research-Statistics-Data-
      and-Systems/Statistics-Trends-and-Reports/CMS-Fast-Facts.
      6
        “Financial Report Fiscal Year 2019,” CMS.gov, November 2019, p. 2, available at:
      https://www.cms.gov/files/document/cms-financial-report-fiscal-year-2019.
      7
        “What’s Medicare?” Medicare.gov, accessed on December 9, 2020, available at: https://www.medicare.gov/what-
      medicare-covers/your-medicare-coverage-choices/whats-medicare.
      8
        “What Part A covers,” Medicare.gov, accessed on December 9, 2020, available at:
      https://www.medicare.gov/what-medicare-covers/what-part-a-covers.
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             administered by a physician or other health care provider (i.e., the drugs are not self-
             administered by the patient). In CY 2018, 34.2 million beneficiaries received services
             through Medicare Part B with $198.8 billion in federal spending.9 The MFN Rule is
             specifically targeted at drugs covered under Medicare Part B.

19.          Medicare Part C, also known as Medicare Advantage, is an “all in one” alternative to
             Original Medicare offered by private health insurance companies that contract with Medicare
             to provide all Part A and Part B benefits.10,11 Most Medicare Advantage Plans also offer
             prescription drug coverage, i.e., Medicare Part D. Medicare Advantage Plans offer extra
             benefits that Original Medicare does not, including coverage for some vision, hearing, and
             dental services.12 As of September 2020, there were over 600 Medicare Advantage contracts
             with CMS with 24.6 million Americans enrolled.13

20.          Medicare Part D helps cover the cost of prescription drugs (i.e., drugs purchased at a
             pharmacy and that are usually self-administered).14 Part D is also administered by private
             health insurance companies and not directly through CMS. CMS estimates that in CY 2018,
             there were 1.5 billion prescriptions dispensed with a total Medicare Part D expenditure of
             $95.2 billion.15

                         2. Medicare Part B drugs, reimbursements, and costs to seniors

                                (a) Drugs covered
21.          Drug spending comprises less than a fifth of total Part B spending, but has continued to grow
             over the past fifteen years. In 2006, total fee for service (FFS) spending on Part B drugs was


      9
    “CMS Fast Facts,” CMS.gov, August 20, 2020, p. 4, available at: https://www.cms.gov/Research-Statistics-Data-
  and-Systems/Statistics-Trends-and-Reports/CMS-Fast-Facts.
  10
     “Medicare Advantage Plans,” Medicare.gov, accessed on December 9, 2020, available at:
  https://www.medicare.gov/sign-up-change-plans/types-of-medicare-health-plans/medicare-advantage-plans.
  11
     Medicare Part B not covered by Medicare Advantage is referred to a Medicare Part B Fee-For-Service (FFS).
  12
     “What’s Medicare?” Medicare.gov, accessed on December 9, 2020, available at: https://www.medicare.gov/what-
  medicare-covers/your-medicare-coverage-choices/whats-medicare.
  13
     “Monthly Contract and Enrollment Summary Report,” CMS.gov, September 2020, available at:
  https://www.cms.gov/research-statistics-data-and-systemsstatistics-trends-and-
  reportsmcradvpartdenroldatamonthly/contract-summary-2020-09.
  14
     What’s Medicare?” Medicare.gov, accessed on December 9, 2020, available at: https://www.medicare.gov/what-
  medicare-covers/your-medicare-coverage-choices/whats-medicare.
  15
     “CMS Fast Facts,” CMS.gov, August 20, 2020, p. 5, available at: https://www.cms.gov/Research-Statistics-Data-
  and-Systems/Statistics-Trends-and-Reports/CMS-Fast-Facts.
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     $14 billion,16 representing about 8.3 percent of Part B spending.17 In 2018, total spending on
     Part B drugs was $35 billion,18 representing about 10.4 percent of total Part B spending. 19
     The growth of Part B spending over time has been driven primarily by new innovative
     drugs.20 These new Part B drugs are more likely to treat small, targeted patient populations,
     cancer or blood diseases, or are used in diagnostic imaging.21 Key categories of covered
     drugs and services include:22,23

        Physician-administered drugs: Medicare Part B covers drugs that are administered by
         infusion or injection in physician offices and hospital outpatient settings, which
         predominantly include oncology products, osteoporosis drugs, blood clotting factors, and
         immunosuppressive drugs.24, 25




16
   “Health Care Spending and the Medicare Program,” MedPAC, July 2020, Chart 10-1, p. 139, available at:
http://www.medpac.gov/docs/default-source/data-book/july2020_databook_entirereport_sec.pdf?sfvrsn=0.
17
   Total expenditures for Part B in 2006 was $169.0b. “2007 Annual Report of the Boards of Trustees of the Federal
Hospital Insurance and Federal Supplementary Medical Insurance Trust Funds,” The Boards of Trustees of the
Federal Hospital Insurance and Federal Supplementary Medical Insurance Trust Funds, April 23, 2007, Table
III.C5 at p. 83, available at: https://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-
Reports/ReportsTrustFunds/downloads/tr2007.pdf.
18
   “Health Care Spending and the Medicare Program,” MedPAC, July 2020, Chart 10-1, p. 139, available at:
http://www.medpac.gov/docs/default-source/data-book/july2020_databook_entirereport_sec.pdf?sfvrsn=0.
19
   Total expenditures for Part B in 2018 was $337.2b. “2019 Annual Report of the Boards of Trustees of the Federal
Hospital Insurance and Federal Supplementary Medical Insurance Trust Funds,” The Boards of Trustees of the
Federal Hospital Insurance and Federal Supplementary Medical Insurance Trust Funds, Table III.C1 at pp. 76-77,
available at: https://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-
Reports/ReportsTrustFunds/Downloads/TR2019.pdf.
20
   “Medicare Part B Expenditures for New Drugs Concentrated among a Few Drugs, and Most Were Costly for
Beneficiaries,” U.S. Government Accountability Office, October 2015, p.19, available at:
https://www.gao.gov/assets/680/673304.pdf.
21
   “Medicare Part B Expenditures for New Drugs Concentrated among a Few Drugs, and Most Were Costly for
Beneficiaries,” U.S. Government Accountability Office, October 2015, p.19, available at:
https://www.gao.gov/assets/680/673304.pdf.
22
   “Is my test, item, or service covered? Prescription drugs (outpatient),” Medicare.gov, accessed on December 9,
2020, available at: https://www.medicare.gov/coverage/prescription-drugs-outpatient.
23
   Other categories of treatment that are covered under Medicare Part B include Durable Medical Equipment (DME)
supply drugs, some antigens - if they’re prepared by a doctor and given by a properly instructed person (who could
be the patient) under appropriate supervision, erythropoiesis stimulating agents, oral cancer drugs, oral anti-nausea
drugs, parenteral and enteral nutrition, intravenous Immune Globulin (IVIG) provided in the home, and insulin used
with insulin pumps.
24
   “Is my test, item, or service covered? Prescription drugs (outpatient),” Medicare.gov, 2020, available at
https://www.medicare.gov/coverage/prescription-drugs-outpatient.
25
   Medicare Part B does not generally cover drugs that are self-administered infusions or injections, including insulin
(unless use of an insulin pump is medically necessary) and insulin pens. “Is my test, item, or service covered?
Insulin,” Medicare.gov, accessed on December 9, 2020, available at: https://www.medicare.gov/coverage/insulin.
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            Certain vaccinations: Flu vaccines, pneumococcal vaccines, hepatitis B vaccines, and
             other shots related to the treatment of an injury or illness (e.g., tetanus shots)

22.      Specific drugs and the therapeutic value these drugs have contributed to improving the health
         outcomes and quality of life for patients will be discussed further in Section IV.B.2.

                             (b) Medicare Part B drug reimbursement to providers
23.      Medicare currently reimburses Part B drugs based on the Average Sales Price (ASP).26 The
         ASP is defined as the “volume-weighted average manufacturer sales price net of all rebates,
         discounts, and other price concessions to U.S. purchasers,” and is regulated primarily by
         market forces (i.e., the willingness of U.S. purchasers to pay for the drugs and negotiate
         discounts).27 These discounts include rebates that are privately negotiated between
         manufacturers and purchasers.28 ASP excludes sales that are “exempt from Medicaid ‘best
         price’ calculations and sales to other federal purchasers,” 29 including 340B sales as well as
         sales at nominal charges.30

24.      CMS requires manufacturers to calculate the ASP for each drug by national drug code (NDC)
         every calendar quarter.31 The same drug can have multiple NDC codes but is associated with
         one Healthcare Common Procedure Coding System (HCPCS) code; thus CMS calculates a
         volume-weighted average ASP for each HCPCS code.32 There is a two-quarter lag between
         manufacturers submitting their ASP data and CMS calculating and implementing the revised




   26
     “Medicare Part B Drug Average Sales Price,” CMS.gov, accessed on December 7, 2020 available at:
  https://www.cms.gov/Medicare/Medicare-Fee-for-Service-Part-B-Drugs/McrPartBDrugAvgSalesPrice.
  27
     Glied, Sherry and Haninger, Kevin, “Medicare Part B Reimbursement of Prescription Drugs,” ASPE Issue Brief,
  June 2014, pp. 2-3, available at https://aspe.hhs.gov/system/files/pdf/106966/ib_mprpd.pdf.
  28
     “A primer on prescription drug rebates: Insights into why rebates are a target for reducing prices,” Milliman,
  May 21, 2018.
  29
     Glied, Sherry and Haninger, Kevin, “Medicare Part B Reimbursement of Prescription Drugs,” ASPE Issue Brief,
  June 2014, available at https://aspe.hhs.gov/system/files/pdf/106966/ib_mprpd.pdf.
  30
     The 340B program allows certain entities, such as disproportionate share or critical access hospitals, to receive
  manufacturer discounts on covered outpatient drugs. See “Report to the Congress: Overview of the 340B Drug
  Pricing Program,” MedPAC, May 2015, p. VII, available at: http://www.medpac.gov/docs/default-
  source/reports/may-2015-report-to-the-congress-overview-of-the-340b-drug-pricing-program.pdf?sfvrsn=0.
  31
     Glied, Sherry and Haninger, Kevin, “Medicare Part B Reimbursement of Prescription Drugs,” ASPE Issue Brief,
  June 2014, pp. 2-3, available at: https://aspe.hhs.gov/system/files/pdf/106966/ib_mprpd.pdf.
  32
     Glied, Sherry and Haninger, Kevin, “Medicare Part B Reimbursement of Prescription Drugs,” ASPE Issue Brief,
  June 2014, pp. 2-3, available at: https://aspe.hhs.gov/system/files/pdf/106966/ib_mprpd.pdf.
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         Medicare payment rates.33,34 Thus, under the ASP framework, CMS has no price-setting
         power because the reimbursement rate lags the market price.35,36

25.      Providers purchase Part B drugs under what is known as “buy-and-bill.”37,38 This means that
         the healthcare providers buy a Part B drug prior to administering the drug to a patient. After
         administering the drug to a Medicare patient, the provider then invoices Medicare for
         reimbursement. In addition to the ASP for each drug, Medicare reimburses providers an
         additional six percent to account for acquisition, handling, administrative, and patient
         education costs.39,40,41 If Medicare Part B drug reimbursement is no longer tied to ASP, but
         rather a lower international reference price, providers’ acquisition costs of MFN Rule drugs
         will be higher than Medicare’s reimbursement rates, resulting in a loss for providers and
         patients.


  33
     “Improving Medicare’s payment for Part B drugs: Requiring pharmaceutical manufacturer reporting of sales price
  data,” MedPAC, June 14, 2019, available at: http://www.medpac.gov/-blog-/requiring-reporting-of-sales-price-
  data/2019/06/14/payment-for-part-b-drugs.
  34
     “Average Sales Price (ASP) for Medicare Part B Established for First-Quarter 2020,” Janssen Biotech, Inc.,
  January 2020, available at: https://www.janssencarepath.com/sites/www.janssencarepath.com/files/simponiaria-
  medicare-part-b-average-sales-price.pdf.
  35
     Sheingold, Steven, et al., “Medicare Part B Drugs: Pricing and Incentives.” ASPE Issue Brief, March 8, 2016,
  available at: https://aspe.hhs.gov/system/files/pdf/187581/PartBDrug.pdf (2016).
  36
     For new drugs without ASP data, Medicare reimbursement is based on the Wholesale Acquisition Cost (WAC),
  which is the manufacturer’s list price. Medicare pays the WAC plus three percent for the first two or three quarters,
  until an ASP is established. After that point, the reimbursement is set as usual. See “Improving Medicare’s payment
  for Part B drugs: Requiring pharmaceutical manufacturer reporting of sales price data,” MedPAC, June 14, 2019,
  available at http://www.medpac.gov/-blog-/requiring-reporting-of-sales-price-data/2019/06/14/payment-for-part-b-
  drugs.
  37
     Glied, Sherry and Haninger, Kevin, “Medicare Part B Reimbursement of Prescription Drugs,” ASPE Issue Brief,
  June 2014, p.1, available at: https://aspe.hhs.gov/system/files/pdf/106966/ib_mprpd.pdf.
  38
     Of total 2018 Part B drug spending, physicians accounted for 57 percent ($19.9 billion), hospital outpatient
  departments accounted for 38 percent ($13.1 billion), and suppliers accounted for 5 percent ($1.9 billion). “A Data
  Book: Health Care Spending and the Medicare Program,” MedPAC, July 2020, Chart 10-1, p. 139, available at:
  http://www.medpac.gov/docs/default-source/data-book/july2020_databook_entirereport_sec.pdf?sfvrsn=0.
  39
     “Comparison of U.S. and International Prices for Top Medicare Part B Drugs by Total Expenditures,” U.S.
  Department of Health and Human Services, Office of the Assistant Secretary for Planning and Evaluation, October
  25, 2018, p. 1, available at:
  https://aspe.hhs.gov/system/files/pdf/259996/ComparisonUSInternationalPricesTopSpendingPartBDrugs.pdf.
  40
     “While the statutory payment rate remains ASP + 6 percent, the sequestration provisions of the Budget Control
  Act of 2011 mandate a 2 percent reduction across Medicare expenditures. Because the sequester does not affect the
  patient copay component of reimbursement, the 2 percent cut means that the effective payment rate for Part B is
  now ASP + 4.3 percent.” See Werble, Cole, “Medicare Part B,” Health Affairs Health Policy Brief, August 10, 2017,
  available at: https://www.healthaffairs.org/do/10.1377/hpb20171008.000171/full/.
  41
     For 340B providers, Medicare reimburses ASP minus 22.5 percent under the Medicare Part B Outpatient
  Prospective Payment System. See “340B Changes: What Biosimilar Manufacturers Need to Know,” AJMC The
  Center for Biosimilars, February 19, 2018, available at: https://www.centerforbiosimilars.com/view/340b-changes-
  what-biosimilar-manufacturers-need-to-know.
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                              (c) Cost sharing with patients
26.        Beneficiaries enrolled in Original Medicare (Medicare Part A and Part B) pay a monthly
           premium in addition to out-of-pocket expenses as they utilize Medicare services.42
           Beneficiaries pay for all services until a specified deductible is met.43,44 After the deductible
           is met, beneficiaries typically pay a 20 percent coinsurance. The coinsurance is
           approximately 20 percent of the Medicare-approved amount for most physician services
           (including most hospital inpatient physician services), outpatient therapy, and DME.45

27.        While patients only pay a fraction of the Medicare costs, the current cost sharing
           arrangements (i.e., monthly premiums, deductible, and 20 percent coinsurance) can place a
           considerable burden on beneficiaries.46 To assist with this burden, many beneficiaries also
           purchase a Medicare Supplement Insurance policy, known as Medigap. Covered costs
           include copayments, coinsurance, deductibles, and medical care when travelling outside the
           U.S.47 Medigap plans often have higher monthly premiums but lower out-of-pocket liability,
           compared to Original Medicare.48 According to America’s Health Insurance Plans’ (AHIP)
           estimates, national Medigap enrollment has been growing in each of the 3 years for which
           data are available (2014 through 2017), reaching 13.5 million covered lives in 2017, which is
           about 35 percent of all beneficiaries enrolled in Original Medicare.49 Medicare Advantage
           Plans (Part C) are also another option for beneficiaries. Medicare Advantage Plans tend to


      42
     Most people do not need to pay a premium for Part A because of Medicare taxes paid while working. The
  standard premium for 2020 is $144.60 per month. “Part A costs,” Medicare.gov, accessed on December 9, 2020,
  available at: https://www.medicare.gov/your-medicare-costs/part-a-costs; “Part B costs,” Medicare.gov, accessed on
  December 9, 2020, available at: https://www.medicare.gov/your-medicare-costs/part-b-costs.
  43
     For Medicare Part A, the hospital inpatient deductible for 2020 is $1,408 for each benefit period. “Medicare costs
  at a glance,” Medicare.gov, accessed on December 9, 2020, available at: https://www.medicare.gov/your-medicare-
  costs/medicare-costs-at-a-glance.
  44
     For 2020, the annual Part B deductible is $198. “Medicare costs at a glance,” Medicare.gov, accessed on
  December 9, 2020, available at: https://www.medicare.gov/your-medicare-costs/medicare-costs-at-a-glance.
  45
     Part B Costs,” Medicare.gov, accessed on December 9, 2020, available at: https://www.medicare.gov/your-
  medicare-costs/part-b-costs.
  46 “
       State of Medigap 2019: Trends in Enrollment and Demographics,” America’s Health Insurance Plans (AHIP),
  May 2019, p. 2, available at: https://www.ahip.org/wp-content/uploads/IB_StateofMedigap2019.pdf.
  47
     “What’s Medicare Supplement Insurance (Medigap)?” Medicare.gov, accessed on December 9, 2020, available at:
  https://www.medicare.gov/supplements-other-insurance/whats-medicare-supplement-insurance-medigap.
  48
     Boccuti, Cristina, “Medigap Enrollment and Consumer Protections Vary Across States,” Kaiser Family
  Foundation, July 11, 2018, available at: https://www.kff.org/medicare/issue-brief/medigap-enrollment-and-
  consumer-protections-vary-across-states/view/footnotes/#footnote-260895-1.
  49
     “State of Medigap 2019: Trends in Enrollment and Demographics,” America’s Health Insurance Plans (AHIP),
  May 2019, p. 3, available at: https://www.ahip.org/wp-content/uploads/IB_StateofMedigap2019.pdf.
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          have higher premiums but lower out-of-pocket costs compared to Original Medicare because
          there is a cap on total out-of-pocket spending.50 In 2020, 24.1 million, nearly one third of the
          67.7 million Medicare beneficiaries, were enrolled in Medicare Advantage Plans,51 while 56
          percent had supplemental coverage (including Medigap, employer-sponsored insurance, and
          Medicaid), meaning 91 percent had either Medicare Advantage or supplemental coverage.52
          These forms of supplemental coverage offer mechanisms to address patient affordability by
          reducing or capping out-of-pocket costs, outside of paying premiums.

28.       The remaining 9 percent of Medicare beneficiaries can bear a substantial burden of covering
          these out-of-pocket costs based on current cost sharing mechanisms. Consequently, some
          beneficiaries may even forgo treatment or alter their regimen of care to avoid additional
          financial burden. This could lead to worse health outcomes and higher costs for these patients
          in the long-run.53 While lower Part B drug prices would reduce the financial burden on some
          Medicare beneficiaries treated with such medications by reducing their spending on
          coinsurance, it would not change their deductible payments,54 and would only modestly



   50 “
      Understanding Medicare Advantage Plans,” Centers for Medicare and Medicaid Services, September 2019, pp. 6,
  24, available at: https://www.medicare.gov/Pubs/pdf/12026-Understanding-Medicare-Advantage-Plans.pdf.
  51
     Freed, Meredith, Anthony Damico, and Tricia Neuman, “A Dozen Facts About Medicare Advantage in 2020,”
  Kaiser Family Foundation, April 22, 2020, available at: https://www.kff.org/medicare/issue-brief/a-dozen-facts-
  about-medicare-advantage-in-2020/.
  52
     Freed, Meredith, Anthony Damico and Tricia Neuman,, “Medicare Beneficiaries Without Supplemental Coverage
  Are at Risk for Out-of-Pocket Costs Relating to COVID-19 Treatment,” Kaiser Family Foundation, April 14, 2020,
  available at: https://www.kff.org/policy-watch/medicare-beneficiaries-without-supplemental-coverage-are-at-risk-
  for-out-of-pocket-costs-relating-to-covid-19-treatment/. In 2017, there were an estimated 6 million Medicare
  beneficiaries without any supplemental coverage. Thus, approximately 91 percent of Medicare beneficiaries have
  some form of supplemental insurance and 9 percent do not (6 million / 67.7 million). Note that this calculation may
  be a little skewed as these statistics are from two different but recent years (2017 and 2020). This means that there
  were approximately 61.7 million beneficiaries with supplemental coverage and 24.1 million of who were associated
  with Medicare Advantage plans. This indicates that 55 percent of beneficiaries have supplemental coverage that is
  not Medicare Advantage.
  53
     Chandra, Amitabh, Jonathan Gruber, and Robin McKnight. “Patient cost-sharing and hospitalization offsets in the
  elderly.” American Economic Review, Vol. 100, No. 1, 2010, pp. 193-213, available at:
  https://pubs.aeaweb.org/doi/pdfplus/10.1257/aer.100.1.193. This study shows that increases in cost sharing can
  discourage physician visits and prescription drug use, and increase hospitalization. See also Gaynor, Martin, Jian Li,
  and William B. Vogt. “Is drug coverage a free lunch? Cross-price elasticities and the design of prescription drug
  benefits,” National Bureau of Economic Research, No. w12758, December, 2006, available at:
  https://www.nber.org/system/files/working_papers/w12758/w12758.pdf. This paper shows that increases in
  copayments on prescription drugs reduces use. It also finds that 35 percent of the expenditure reductions in drug
  spending are offset by increases in other spending, such as inpatient and outpatient care.
  54
     In 2020, the Part B deductible is $198. See “Part B costs,” Medicare.gov, accessed on December 9, 2020,
  available at: https://www.medicare.gov/your-medicare-costs/part-b-costs.
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           impact their premiums.55 As discussed in detail in Section V.B, if the policy goal is to reduce
           the burden on Medicare beneficiaries, there are more direct ways to do so, including more
           generous insurance coverage with lower cost sharing.

                       MFN Rule Overview
29.        This Medicare context is critical to consider when assessing the intended effects and
           implications of CMS’ MFN Rule. The MFN Rule intends to lower Medicare Part B drug
           prices to both patients and the government by “aligning payment for Medicare Part B
           drugs… with international prices and removing incentives to use higher-cost drugs…without
           adversely affecting quality of care for beneficiaries.”56 In order to decrease drug costs within
           the U.S., the MFN Rule acknowledges that manufacturers may raise prices outside of the
           U.S. The MFN Rule is set to be in place for seven years (January 1, 2021 – December 31,
           2027) across all U.S. states and territories, and will be assessed quarterly to determine the
           impact on costs and, beginning prior to year five, the quality of care (including access to
           drugs).57

                       1. MFN Rule Drugs
30.        In its first year, which is scheduled to start in just a few weeks, the MFN Rule will regulate
           the reimbursement of 50 drugs that represent the vast majority of Medicare Part B spending
           (as measured by allowed charges) after applying certain exclusions (e.g., claims with a place
           of service of homeless shelter, home, assisted living facility, etc.).58 The top 50 drugs were
           identified using HCPCS codes with the largest Medicare Part B spend in 2019.59 (HCPCS
           codes are used by CMS to define reimbursement for physician-administered drugs.) HCPCS
           codes in which a branded product and generic product share the same code are excluded,


      55
         Medicare Part B drug program spending in 2017 was $24 billion, about 12.5 percent of total Part B program
      benefit spending for fee-for-service claims. Given this small share, even a meaningful reduction Part B drug
      spending would only have a modest impact on premiums, as this MFN Rule will not affect the 87.5 percent of
      Medicare Part B program benefit spending on other services. “Medicare Part B Drugs: Trends in Spending and
      Utilization, 2006-2017,” Assistant Secretary for Planning and Evaluation (ASPE), November 20, 2020, available at:
      https://aspe.hhs.gov/system/files/pdf/264416/Part-B-Drugs-Trends-Issue-Brief.pdf.
      56
         Most Favored Nation (MFN) Model, 85 Fed. Reg. 76180-76259 (Nov. 27, 2020), (hereafter “MFN Rule”), p.
      76180.
      57
         MFN Rule, p. 76183.
      58
         MFN Rule, p. 76191.
      59
         MFN Rule, p. 76188.
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         while biosimilars that have separate HCPCS codes are included.60,61 These 50 drugs
         accounted for 75 percent of annual Medicare Part B spending in 2019.62 In subsequent years
         the list will be reassessed and additional drugs that account for the top 50 Medicare Part B
         drugs by total allowed charges may be added. With few exceptions, drugs will not be
         removed from the list once they are added.63 The rule will only apply when drugs are
         separately payable; if drugs included on the list are packaged in certain settings and
         separately payable in others, “the MFN Model payment only applies to such drugs in settings
         where separate payments is allowed.”64

31.      Among drugs included in the list of the 50 drugs for year 1, the most prevalent therapeutic
         areas are hematology/oncology, rheumatology, and neurology, based on the provider
         specialties associated with these drugs.65 Certain types of drugs are excluded from the MFN
         Rule, including vaccines, radiopharmaceuticals, oral Medicare Part B drugs, compounded
         drugs that are prepared by outsourcing facilities, intravenous immune globulin products,
         drugs that are subject to an emergency use authorization or receive FDA approval to treat
         patients with suspected or confirmed COVID-19, and drugs without specific HCPCS codes.66
         CMS is seeking comments on whether certain drugs should be excluded from the model for
         the first few years on the market or excluded altogether, including drugs used to treat blood
         related, plasma derived, and human tissue products,67 and certain “gene and cell therapies or
         new drugs for the treatment of rare diseases and conditions.”68




   60
     MFN Rule, pp. 76188-9.
   61
     Biosimilars are products that are highly similar to an already-approved FDA product. See “Biosimilar and
  Interchangeable Products,” U.S. Food and Drug Administration, accessed on December 9, 2020, available at:
  https://www.fda.gov/drugs/biosimilars/biosimilar-and-interchangeable-products#biosimilar.
  62
     MFN Rule, p. 76193.
  63
     MFN Rule, pp. 76192-3. Reasons for removal from the MFN list include permanent removal from the U.S.
  market, if a HCPCS code is terminated and no replacement code is provided, or the generic becomes available.
  64
     MFN Rule, p. 76189.
  65
     MFN Rule, Table 2, p. 76194.
  66
     MFN Rule, pp. 76190-2.
  67
     MFN Rule, p. 76191. CMS is seeking comments during a 60-day comment period following the January 1, 2021
  effective date (see MFN Rule, p. 76248).
  68
     MFN Rule, p. 76191.
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                       2. MFN Rule Reference Countries
32.        The MFN Rule will consider countries that were part of the OECD as of October 1, 2020,
           and have purchasing power parity-adjusted (PPP) GDP per capita that is at least 60 percent of
           the U.S. For year 1, these countries are Australia, Austria, Belgium, Canada, Denmark,
           Finland, France, Germany, Iceland, Ireland, Israel, Italy, Japan, Republic of Korea,
           Luxembourg, Netherlands, New Zealand, Norway, Spain, Sweden, Switzerland, and the
           United Kingdom.69

33.        CMS indicates that the most important criteria to consider for reference countries is
           membership in the OECD and GDP per capita relative to the U.S. According to CMS,
           membership in the OECD would indicate that these countries “share…the U.S. democratic
           principles and commitment to market-based economies.” 70 However, not all OECD countries
           uphold these democratic principles in practice. Some OECD countries, for example, Turkey,
           have economies and market structures that are vastly different from that of the U.S.71

34.        CMS also indicates that a 60 percent PPP-adjusted GDP per capita cutoff would balance
           between including countries that have a GDP per capita that is too low, indicating the
           economies are substantially different from that of the U.S., and having too high of a cutoff
           such that there would be a small number of reference countries.72 The threshold, however, is
           arbitrary, and there is little to suggest that it ensures comparability to the U.S. economy. For
           example, the U.S. last had a per capita GDP at 60 percent of its current value in the late
           1980s;73 comparing today’s U.S. economy with the U.S. economy in the late 1980s for the
           purposes of drug pricing may not be very informative.

35.        In each quarter, the list of reference countries can be adjusted, although the list is expected to
           remain stable since GDP data are not updated frequently.74 The MFN price is the lowest


      69
         MFN Rule, p. 76200.
      70
         MFN Rule, p. 76199.
      71
         Turkey is listed as a “hybrid regime,” between a flawed democracy and authoritarian regime, in the Economist’s
      Democracy Index. See “Democracy Index 2019. A year of democratic setbacks and popular protest,” Economist
      Intelligence Unit, 2020, p. 17, available at:
      https://www.eiu.com/public/topical_report.aspx?campaignid=democracyindex2019.
      72
         MFN Rule, p. 76200.
      73
         “Real gross domestic product per capita,” FRED Economic Data, Federal Reserve Bank of St. Louis, accessed on
      December 9, 2020, available at: https://fred.stlouisfed.org/series/A939RX0Q048SBEA.
      74
         MFN Rule, p. 76200.
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           GDP-adjusted country-level price among the reference countries.75 CMS acknowledges that,
           as a consequence of the MFN Rule, the list price in some countries may increase along with
           greater rebates in an effort to maintain U.S. prices.76 Thus, to calculate this MFN price, CMS
           will use prices that adjust for rebates and discounts to the “extent possible, rather than just
           the list prices.”77

                        3. MFN Rule Drug Payment
36.        To price drugs in the first three years of the MFN Rule, there will be a phase-in period,
           during which the MFN drug payment amount will be a blend of the MFN price and the
           current method of pricing using ASP.78,79 In year 1, the price will be determined using a
           weight of 75 percent of the ASP price and 25 percent of the MFN price; in year 2, using 50
           percent of the ASP price and 50 percent of the MFN price; in year 3, using 25 percent of the
           ASP price and 75 percent of the MFN price; and in years 4 through 7, using 100 percent of
           the MFN price.80

37.        This phase-in structure will be accelerated by an increase in 5 percentage points to the weight
           of the MFN price if ASP for a given drug increases faster than both the MFN price and
           inflation.81 If there are no international prices available for a drug, the MFN drug payment
           amount will be set to ASP. The MFN drug payment amount will be updated quarterly.82

                        4. Add-on Payment
38.        As previously discussed in Section III.A.2(b), for Part B drugs, CMS currently reimburses
           providers ASP plus an additional six percent to account for acquisition, handling, and
           administrative costs. The MFN Rule proposes to replace this six percent with a flat per-dose
           payment across all of the drugs in the model. At the Rule’s initiation, this payment will be
           $148.73.83 This per-dose payment was calculated based on 6.1224 percent of the 2019 ASP


      75
         MFN Rule, p. 76200.
      76
         MFN Rule, p. 76196.
      77
         MFN Rule, p. 76196.
      78
         MFN Rule, pp. 76204-5.
      79
         See Section III.A.2(b) for a discussion of how current prices are calculated, using the ASP.
      80
         MFN Rule, p. 76205.
      81
         MFN Rule, p. 76214.
      82
         MFN Rule, p. 76254.
      83
         MFN Rule, p. 76217.
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            for the 50 drugs included in year 1.84 This add-on payment will be adjusted quarterly for
            inflation.85 Beneficiaries will not be responsible for any portion of this add-on payment.86

                       5. Other Considerations
39.         The MFN Rule excludes certain providers, including children’s hospitals, cancer hospitals,
            and critical access hospitals,87 and beneficiaries who receive their insurance coverage
            through a Medicare Advantage plan.88 Since Medicare Advantage is excluded from the Rule,
            these beneficiaries will see no immediate impact on their spending.

40.         The proposed rule will also have an effect on providers enrolled in the 340B Drug Pricing
            Program. The 340B Drug Pricing Program allows certain statutorily-defined safety net
            providers, such as disproportionate share or critical access hospitals, to receive manufacturer
            discounts on covered outpatient drugs.89 A ceiling price is determined for each outpatient
            drug administered under the 340B program, which represents the maximum acquisition price
            the manufacturer can charge a provider. The MFN Rule may introduce a lower price for
            340B covered entities, reducing the amount of resources available to treat their patients.90
            There may be a gap between the ceiling price and the MFN Drug Payment Amount, which
            will lower the amount of resources available to treat patients who are covered by 340B-
            participating entities.91 However, in the first year, payment rates to 340B providers will be
            the same as payments outside the model.92


      IV.      ANALYSIS OF MOST FAVORED NATION RULE
41.         Imposing an international reference pricing system on the U.S. pharmaceutical market for
            MFN Rule drugs will have consequences for both the U.S. and global markets.
            Manufacturers and providers will face revenue losses from Medicare Part B reimbursements


   84
      MFN Rule, p. 76217.
   85
      MFN Rule, p. 76217.
   86
      MFN Rule, pp. 76220.
   87
      MFN Rule, p. 76184.
   88
      MFN Rule, p. 76183.
   89
      “Report to the Congress: Overview of the 340B Drug Pricing Program,” MedPAC, May, 2015, p. VIII, available
   at: available at: http://www.medpac.gov/docs/default-source/reports/may-2015-report-to-the-congress-overview-of-
   the-340b-drug-pricing-program.pdf?sfvrsn=0.
   90
      MFN Rule, p. 76229.
   91
      MFN Rule, p. 76229.
   92
      MFN Rule, p. 76236.
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         and, as a result, will make strategic decisions that will have wide-ranging effects on the
         availability of existing and future treatments for patients. In order to analyze the
         consequences of the MFN Rule, it is important to first understand the U.S.’s position in the
         global pharmaceutical market, incentives for manufacturers to prioritize launching new,
         innovative products in the U.S., and the benefit U.S. patients receive from having access to
         these novel therapies.

42.      It is difficult to understate the U.S.’s presence in the global drug market. U.S. spending on
         pharmaceuticals comprise approximately 41 percent of global spending.93 As such, the U.S.
         is central in sustaining and growing the market needed to support continued innovation of
         life-saving drugs. This is not surprising if one looks at the size of the U.S. economy as a
         whole—the centrality of the US’s role in pharmaceutical markets comes from its
         disproportionately larger economy. The U.S.’s PPP-adjusted GDP is $19.9 trillion, compared
         to Japan’s PPP-adjusted GDP of $5.4 trillion, Germany’s PPP-adjusted GDP of $4.1 trillion,
         France’s PPP-adjusted GDP of $3.0 trillion, and the U.K.’s PPP-adjusted GDP of $2.9
         trillion.94 These are the next four countries out of the MFN reference countries with the
         greatest GDP. As shown in Exhibit 1a, and consistent with the overall strength of the U.S.
         economy, the U.S.’s level of pharmaceutical spending of $492b in 2019 is more than Japan,
         Germany, France, the UK, Spain, Canada, Australia, South Korea, and 10 other OECD
         countries included in the MFN Rule, combined.95,96 In fact, Japan has the next highest
         amount in spending compared to the U.S. and its spending only represents 16 percent of U.S.
         spending. Exhibit 1b illustrates the relative market size of various OECD countries
         compared to the U.S., based on total pharmaceutical spending for both the retail and non-




   93
      “Global Medicine Spending and Usage Trends: Outlook to 2024,” IQVIA, March 2020, Exhibit 10, p. 17,
   available at: https://www.iqvia.com/-/media/iqvia/pdfs/institute-reports/global-medicine-spending-and-usage-
   trends.pdf?_=1607447495417.
   94
      Country Comparison: GDP per capita (PPP), CIA World Factbook, accessed on December 9, 2020, available at:
   https://www.cia.gov/library/publications/resources/the-world-factbook/fields/211rank.html; Country Comparison:
   Population, CIA World Factbook, accessed on December 9, 2020, available at:
   https://www.cia.gov/library/publications/the-world-factbook/fields/335rank.html.
   95
      IQVIA MIDAS from IQVIA Pricing and Reimbursement Country Guides. Spending does not include all
   discounts and rebates.
   96
      Data was not available for Iceland, Israel, Luxembourg, and New Zealand.
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         retail channel as reported in IQVIA MIDAS data (the same dataset referenced by CMS to
         calculate MFN prices).

43.      The outsized importance of the U.S. market is even more apparent in specific therapeutic
         areas. For example, of the top 50 drugs listed in the MFN Rule, almost half of the drugs are
         classified as oncology products (23/50). Based on the Anatomical Therapeutic Chemical
         Classification System Level 3 (ATC3) for these 23 drugs, the U.S. represents 58 percent of
         sales and 36 percent of units out of the total for the U.S. and 18 of the 22 OECD countries
         included in year 1 of the MFN Rule.97

44.      While in other OECD countries governmental agencies decide which drugs can be
         reimbursed, and at which price, in the U.S. drug pricing is largely left to market forces.
         Congressional legislation has aimed to promote market incentives for innovation, while
         ensuring mechanisms to promote competition and access. Since 1984, with the passage of
         the Hatch-Waxman Act, the U.S. provides exclusivity periods during which innovative
         pharmaceutical companies can seek to recoup R&D investments prior to facing more intense
         price competition from generic drugs. The Hatch-Waxman Act increased IP protection not
         only through the exclusivity provisions, but also through patent term restoration (i.e., the
         length of one patent for the drug could be extended based on half the time in trials and all the
         time in FDA review--up to a maximum extension of 5 years and resulting in no more than 14
         years at the time of drug approval).98

45.      Consequently, patients in the U.S. have the fastest and broadest access to newly developed
         therapies. For example, between 2013 and 2017, drug manufacturers launched 54 new
         oncology products globally (see Exhibit 2). As of 2018, 96 percent of newly approved
         oncology drugs were available in the U.S. while only 80 percent and 76 percent of these
         drugs were available in Germany and the U.K. In South Korea, only 46 percent of these
         drugs were available. The cumulative impact of this earlier access to new drugs is more
         treatment options overall.




   97
      Data does not contain information for Denmark, Iceland, and Israel and only includes retail channel data for
   Luxembourg. As such, these three countries are not included in the analysis.
   98
      Boehm, Garth et al., “Development of the generic drug industry in the US after the Hatch-Waxman Act of 1984,”
   Acta Pharmaceutica Sinica B, Vol. 3, No. 5, July 18, 2013, pp. 297–311, at 299.
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46.      Additionally, the data on the availability of the 50 products in the MFN Rule illustrates that
         not all of these products are available in the reference countries (Exhibit 3). While patients in
         the U.S. have access to all of the drugs, patients in Germany and the U.K. have access to
         about 96 percent of the products and patients in New Zealand only have access to 71 percent
         of the products. Looking at the subset of the 50 products approved in the last five years, there
         is more variation in the availability of these products in these countries. For example,
         Rituxan Hycela, which is the subcutaneous administration of rituximab rather than
         intravenous administration,99 is only available in the U.S. and the oncology drug Empliciti is
         not available in about a third of the reference countries. The average accessibility rate for
         these 9 products approved since 2015 in the OECD reference countries is approximately 81
         percent. Of these 9 products, only 4 were available in New Zealand, 5 were available in
         South Korea, 6 were available in Ireland, 7 were available in 5 countries, and 8 were
         available in 11 countries.

47.      In addition to availability, the data on the launch date of these 50 products in different
         countries show that there is substantial variation in the time it takes for drugs to launch in a
         given country after the drug is first launched globally. Exhibit 4a shows that the U.S. not
         only has access to the most products, but gains access to these products most quickly. 70
         percent of these products were first launched in the U.S. On average, products were launched
         in the U.S. seven months after the first global launch among the U.S. and reference MFN
         countries. This is twice as fast as the next country Sweden, where the average time was 14
         months. The average time between first global launch and subsequent launch was more than
         four years for Israel, Luxembourg, and Iceland.

48.      It is also helpful to look at the time distribution between first global launch and subsequent
         launch (Exhibit 4b). While the average time between global launch and launch in the U.S.
         was seven months, 85 percent of the products were launched in the U.S. within six months.
         Whereas, Norway and Sweden had the next greatest share of products approved between zero
         and six months, with only 35 and 33 percent, respectively. In the U.K., only 52 percent of the
         products were available within a year. Thus, the centrality of the U.S. market to the




   99
        MFN Rule, p. 76201.
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             pharmaceutical market as a whole allows its patients to have earlier and broader access to
             innovative and cutting-edge therapies compared to other OECD countries.

49.          When making policy changes that will have such wide-ranging implications for the U.S.
             market, and thus the pharmaceutical industry as a whole, it is important to realize that the
             MFN Rule will have significant unintended effects on provider and manufacturer incentives,
             which will result in harm to patients. In the immediate-term, Medicare beneficiaries will be
             harmed with restricted access to life-saving medications and providers in the U.S. will be
             harmed with insufficient reimbursements to sustain their current practices. Manufacturers
             will make decisions today in response to the MFN Rule that alter their pipeline;
             consequently, the MFN Rule will hinder innovation of treatments that improve quality of life
             or that provide a cure, reducing patients’ access to future therapies.

                          The intended effects of the MFN Rule will not be realized.
50.          As discussed in Section III.B, the MFN Rule is intended to reduce costs to Medicare
             beneficiaries by reducing reimbursements for Part B drugs, which CMS believes will force
             manufacturers to reduce drug prices in the U.S. and increase them outside of the U.S.
             However, the effects on Medicare beneficiary out-of-pocket costs will at best be limited and
             need to be considered in the context of the harms the MFN Rule will cause to patients due to
             reduced access to medications.

51.          First, Medicare beneficiaries already have forms of supplemental coverage that help reduce
             out-of-pocket costs for Medicare Part B drugs. This includes Medigap plans, supplemental
             employer plans, dual Medicaid eligibility, and Medicare Advantage plans. As stated in
             Section III.A, 91 percent of Medicare beneficiaries have Medicare Advantage Plans or
             supplemental coverage.100 Therefore, the cost sharing burden of Part B drugs is substantially
             mitigated for all but only a small share of Medicare beneficiaries.

52.          Second, prices in the U.S. for drugs affected by the MFN Rule will not be able to adjust
             immediately to payers outside of Medicare. Under the acquisition and contracting process for
             pharmaceuticals in the U.S., providers purchase drugs from wholesalers, who purchase them
             from manufacturers. The price charged to providers is not dependent on whether the patients

      100
            See Footnote 52.
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            served are Medicare or commercial beneficiaries.101 Thus, even though the Medicare
            reimbursements to providers will change immediately under the MFN Rule, their acquisition
            costs will not be able to adjust as quickly. As the complaint states, there are also contractual
            obligations between payers/group purchasing organizations and manufacturers that cannot be
            altered at a moment’s notice; thus, it is not feasible to adjust prices by the end of the year.102

53.         Finally, the administration has argued that in response to the MFN Rule, manufacturers
            would raise international prices to attenuate the impact of decreasing U.S. prices on revenues.
            The administration believes that the U.S. currently subsidizes the cost of drugs in countries
            with price controls and that the MFN Rule will push manufacturers to raise prices outside of
            the U.S. in such a way that will re-distribute the burden more evenly across countries.103
            CMS states that “manufacturers may realize lower revenue as a result of the MFN Model. It
            is possible that manufacturers will increase international or domestic drug prices.”104
            However, drug prices will not be able to adjust immediately, within the U.S, as mentioned
            previously, or outside the U.S.

54.         Manufacturers’ ability to increase their prices outside the U.S. will be significantly limited
            due to the pricing policy regimes in the OECD reference countries. Exhibit 5 outlines some
            of the different policy choices for a representative subset of reference countries indicated in
            the Rule, including Australia, Canada, France, Germany, Japan, and the United Kingdom.

      101
      Lieberman, Steven M. and Paul B. Ginsburg, “CMS’s International Pricing model for Medicare Part B drugs:
  Implementation issues,” Brookings Institution, July 9, 2019, pp. 3-4, available at:
  https://www.brookings.edu/blog/usc-brookings-schaeffer-on-health-policy/2019/07/09/cmss-international-pricing-
  model-for-medicare-part-b-drugs-implementation-issues/#cancel.
  102
      Complaint, Association of Community Cancer Centers, on behalf of itself and its members; Global Colon Cancer
  Association, on behalf of itself and its members; National Infusion Center Association, on behalf of itself and its
  members; and Pharmaceutical Research and Manufacturers of America, on behalf of itself and its members vs. Alex
  M. Azar II, in his official capacity as Secretary of the U.S. Department of Health and Human Services; the U.S.
  Department of Health and Human Services; Seema Verma, in her official capacity of Administrator of the
  Centers for Medicare and Medicaid Services; Centers for Medicare and Medicaid Services; Brad Smith , in His
  official capacity as the Director of the Center for Medicare and Medicaid Innovation; Center for Medicare and
  Medicaid Innovation, The United States District Court For the District of Maryland, CIV. NO. 1:20-cv-03531,
  December 4, 2020 (hereafter “Complaint”), ¶139. “CMS suggests that providers can avoid these harms by simply
  purchasing covered drugs at lower prices, but that ignores the existence of pre-negotiated contracts with wholesalers
  and Group Purchasing Organizations that cannot easily be revised, and that certainly cannot be renegotiated before
  the MFN Rule begins applying to reimbursement rates on January 1, 2021.”
  103
      See, e.g., “Remarks by President Trump at Signing of Executive Orders on Lowering Drug Prices,” The White
  House, July 24, 2020, available at: https://www.whitehouse.gov/briefings-statements/remarks-president-trump-
  signing-executive-orders-lowering-drug-prices/.
  104
      MFN Model, p. 76243.
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         This exhibit summarizes, for each country, the healthcare system, main factors determining
         price (e.g. internal reference pricing, international reference pricing, and cost effectiveness),
         the role of international reference pricing, and countries included in the reference basket.

55.      The vast majority of these countries have a formal health technology assessment (HTA)
         agency, which helps determine prices by evaluating factors such as cost effectiveness and
         additional therapeutic value (see “Main factors determining price” column of Exhibit 5). All
         of these countries have a universal healthcare system, and the majority are publicly funded.
         The main factors determining price in many of these OECD countries depend on both the
         results of the HTA and cost of comparators. The HTA process in many OECD countries,
         such as in Australia, France, and the U.K, are also centralized. In contrast, the U.S. relies on
         a largely market-based approach to set drug prices, with no centralized HTA process.105
         Multiple commercial payors negotiate with multiple manufacturers and providers to
         determine confidential prices.106 With rare exceptions, coverage and reimbursement
         decisions are also left to individual payors. Other common considerations for prices include
         internal reference pricing and cost of comparators.

56.      The complex HTA processes and government pricing rules, including international reference
         pricing, in many OECD countries mean that these countries are willing to deny coverage,
         giving manufacturers little negotiating power. This dynamic between countries and
         manufacturers and the intricacies of the HTA processes and reference pricing can result in
         lengthy negotiations. Consequently, the complex series of pricing negotiations can often
         result in substantial delays between regulatory approval and a coverage decision that
         provides patients with access. This is different than what happens in the U.S., since CMS is
         required to cover all drugs that are “reasonable and necessary,” which typically results in
         simultaneous approval and coverage.107 An analysis by the OECD of 31 oncology product-
         indications approved since 2014 found that there was substantial time between marketing
         approval and application for coverage and then application for and granting of coverage.

  105
      In the U.S., ICER is an independent and non-partisan body that play an informal role in the HTA process. See
  “Who We Are,” Institute for Clinical and Economic Review, accessed on December 9, 2020, available at:
  https://icer-review.org/about/.
  106
      This means that CMS’ reimbursed amount of ASP plus the additional six percent indirectly relied on other
  payors’ negotiations.
  107
      “Part B Drugs Payment Systems,” MedPAC, October 2018, available at: http://medpac.gov/docs/default-
  source/payment-basics/medpac_payment_basics_18_partb_final_sec.pdf.
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            While the data was only available for a subset of the OECD reference countries and for a
            subset of oncology products (most of which are not part of the MFN Rule), Exhibit 6 still
            illustrates the time it takes a country to apply for and be granted coverage. Notably, after
            applying for coverage, it took 13 and 16 months for France and Ireland, respectively, to grant
            coverage for these products. This is substantial time that patients are not able to access these
            products.

                        The MFN Rule will have unintended consequences, including reduced
                        innovation and access barriers to current and future therapies.
57.         The MFN Rule will lead to a number of immediate and long-term unintended consequences
            that will impact both U.S. and global healthcare markets and will have implications for
            providers, patients, and pharmaceutical manufacturers. The MFN Rule will immediately
            place considerable burdens on providers, reduce access to medications, and will influence
            manufacturer investment decisions that will harm innovation for decades to come.

                        1. Immediate consequences impacting providers and patients.

                                (a) Harm to Providers
58.         The MFN Rule seeks to alter manufacturer prices by changing the Medicare Part B
            reimbursement to providers for covered drugs. As I discuss in Section III.A, providers
            acquire Part B drugs under what is known as “buy-and-bill,” purchasing in bulk prior to
            administration for all patients (both commercial and Medicare) and billing the payer after the
            patient has been treated. Under the current ASP structure, there is already a substantial
            burden on providers when drug prices increase because Medicare reimbursements face a two
            quarter lag before reflecting the increase.108 The MFN Rule will further divorce Medicare
            reimbursement from provider acquisition costs. If reimbursements decline faster than
            acquisition costs and fall below the cost of current inventory, providers will be at risk of not
            covering the cost of acquiring certain drugs for their Medicare patients. Furthermore, the

      108
          Polite, Blase N. et al., “Reform of the Buy-and-Bill System for Outpatient Chemotherapy Care Is Inevitable:
      Perspectives from an Economist, a Realpolitik, and an Oncologist,” American Society of Clinical Oncology
      Educational Book, October 6, 2015, p. 3, available at:
      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4594838/#R2, (“This mismatch between acquisition costs and
      Medicare reimbursement for a particular drug can result in it being underwater (meaning the buy costs more than the
      bill) among providers—price increases are borne by outpatient practices until Medicare reimbursements catch up
      two quarters later.”).
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         MFN Rule will replace the ASP plus six percent add-on payment (described in detail in
         Section III.B.4) with a fixed-fee that will be inadequate to cover some providers’ inventory
         and administrative costs.109 Some medicines and specialties will be disproportionately
         affected by this change. While the MFN Rule will reduce the incentives for some providers
         to prescribe high-priced medicines, it will simultaneously harm patients who would benefit
         from these medicines.

59.      In order for providers to ensure they are fully reimbursed for MFN Rule drugs administered
         to Medicare Part B patients, they must purchase these drugs from manufacturers at or below
         the MFN reimbursement amount. Prices are determined through individualized contracts and
         vary substantially from provider to provider, with “large group and institutional practices…
         [benefitting from] lower drug acquisition costs… [relative to] smaller practices.”110 Even
         under the ASP reimbursement system, “[m]any small- to medium-size practices recognize
         that they cannot risk providing new, expensive therapeutics in the office. An entire clinic can
         be jeopardized by a failure to be wholly or partially reimbursed in a reasonable time frame
         for a given dose or cycle of an expensive drug” (emphasis added).111 Because the MFN Rule
         is scheduled to go into effect in just a few weeks, manufacturers will not have sufficient time
         to work with providers to adjust drug prices. As a result, many providers will realize
         significant losses from administering MFN Rule drugs that they have already purchased in
         their inventory. Moreover, for additional drug purchases that providers need to make today,
         they face uncertainty around whether they will be wholly reimbursed for drugs covered under
         the MFN Rule and administered to Part B beneficiaries. This uncertainty may force them to
         limit inventories to avoid debilitating losses, which will increase the risk of drug shortages,




  109
      For example, analysis included in the MFN Rule Table 8, p. 76219 indicate that, on average, nine different
  practice types will see decreases in add-on reimbursements under the MFN Rule.
  110
      Polite, Blase N. et al., “Reform of the Buy-and-Bill System for Outpatient Chemotherapy Care Is Inevitable:
  Perspectives from an Economist, a Realpolitik, and an Oncologist,” American Society of Clinical Oncology
  Educational Book, October 6, 2015, p. 3, available at: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4594838/#R2
  111
      Polite, Blase N. et al., “Reform of the Buy-and-Bill System for Outpatient Chemotherapy Care Is Inevitable:
  Perspectives from an Economist, a Realpolitik, and an Oncologist,” American Society of Clinical Oncology
  Educational Book, October 6, 2015, p. 4, available at:
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4594838/#R2, emphasis added to quotation.
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            especially for therapies that are disproportionately used to treat Medicare patients.112 CMS
            acknowledges this by excluding drugs currently in shortage from the list of covered drugs.113

60.         Many providers will be further strained by the transition to a fixed add-on payment. Even
            under the ASP plus system, when margins decreased due to sequestration and the inclusion
            of prompt pay discounts in the ASP calculation, “[i]ncreasingly, small practices, and even
            larger ones, report[ed] sending some therapies—and more often certain patients, such as
            those with Medicaid, Medicare with no supplement, and Medicare Advantage Plans with
            copays on Part B drugs—to hospitals for infusion.”114 A similar response will be particularly
            likely for expensive therapies or those that have a high administrative burden, where the per-
            dose add-on payment does not fully cover the provider’s costs. Certain practice types are
            likely to suffer more than others from the fixed add-on payments. The MFN Rule points out
            that the following specialties will be negatively impacted on average by the per-dose add-on:
            hematology/oncology, medical oncology, neurology, hematology, gastroenterology,
            gynecological/oncology, infectious disease, hematopoietic cell transplantation & cellular
            therapy, and dermatology.115 In particular, analyses included in the MFN Rule predict that
            gynecological/oncology practices will lose an average of 33 percent in Medicare Part B
            reimbursements with the shift away from ASP-plus pricing to per-dose add-on payments.116
            The per-dose add-on fee for the first quarter of 2021 will be $148.73.117 Theoretically, if a
            provider purchases a drug for $5,000 but has carrying costs (e.g., storage) that equate to five
            percent of the drug’s purchase price, this flat fee would be insufficient to cover carrying
            costs. This could also exacerbate shortages, because providers will be less likely to stock
            such a medicine to mitigate shortages.



      112
          Polite, Blase N. et al., “Reform of the Buy-and-Bill System for Outpatient Chemotherapy Care Is Inevitable:
      Perspectives from an Economist, a Realpolitik, and an Oncologist,” American Society of Clinical Oncology
      Educational Book, October 6, 2015, p. 3, (“Commercial payers… generally continue to reimburse more generously
      than Medicare, making practices that have more commercially insured patients less vulnerable to the ASP and its
      changes over time.”).
      113
          MFN Rule, p. 76215.
      114
          Polite, Blase N. et al., “Reform of the Buy-and-Bill System for Outpatient Chemotherapy Care Is Inevitable:
      Perspectives from an Economist, a Realpolitik, and an Oncologist,” American Society of Clinical Oncology
      Educational Book, October 6, 2015, p. 7, available at:
      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4594838/#R2.
      115
          MFN Rule, Table 8, p. 76219.
      116
          MFN Rule, Table 8, p. 76219.
      117
          MFN Rule, p. 76217.
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61.      In addition to the aforementioned challenges, many physician practices are already struggling
         financially as patients delay care due to COVID-19, and practice costs increase for PPE and
         cleaning supplies. A June 2020 article reported that “73 percent [of 51 U.S. oncology
         practices] said they were limiting surgeries to urgent or essential cases and 53 percent had
         modified dosing regimens to reduce the need for in-person visits. Additionally, 71 percent
         had canceled routine office visits and 14 percent had cut staff. Among those practices that did
         make staffing cuts, they furloughed 29 percent of the staff.” Stating further, “[t]here is a
         concern that practices that were hanging on are going to be in a tight space, Ted Okon,
         executive director of the Community Oncology Alliance… said in an interview. ‘We’re
         going to see some clinics closing. We’ll see some clinics bought by hospitals....”118 Given an
         already precarious state, these practices may not be able to afford the uncertainty or costs
         associated with shifting to providing care under the MFN Rule.

62.      Financial hardship due to changes in reimbursement policies has historically led many
         oncology practices to merge or be acquired by hospitals.119 With anticipated losses due to the
         MFN Rule alongside the challenges of COVID-19, this trend is likely to accelerate,
         motivating smaller practices or those treating a disproportionate share of Medicare patients to
         consolidate or seek acquisition by a larger hospitals, or those that benefits from 340B
         pricing.120 Redirecting patients away from small, local clinics to larger hospitals or
         consolidated clinics in other communities will be especially burdensome in rural and
         underserved areas, where hospitals are already facing space and staff shortages due to



   118
      Myshko, Denise, “COVID-19 Is Expected to Have Long-term Impact on Oncology Practices,” OncologyLive,
  Vol. 21, No. 12, June 25, 2020, available at: https://www.onclive.com/view/covid-19-is-expected-to-have-long-
  term-impact-on-oncology-practices.
  119
      Pifer, Rebecca, “Community oncology practices turn to mergers, private equity to avoid hospital acquisition,”
  HealthCare Dive, April 24, 2020, available at: https://www.healthcaredive.com/news/community-oncology-
  practices-turn-to-mergers-private-equity-to-avoid-hospi/576722/ (“Roughly 1,750 independent community oncology
  clinics and practices have closed, been acquired by hospitals, merged or reported significant financial struggles since
  2008 as financial pressures continue to drive consolidation in the industry at large.”).
  120
      Pifer, Rebecca, “Community oncology practices turn to mergers, private equity to avoid hospital acquisition,”
  HealthCare Dive, April 24, 2020, (“But the rate of hospitals acquiring community oncology practices has marched
  along, increasing almost 10 percent between 2018 and 2020 due to financial incentives built into the 340B Drug
  Discount Program and higher payments to hospitals for cancer care… Over the last twelve years, an average of 9
  practices per month have closed, been acquired by a hospital, or merged.”). See also Tollen, Laura, and Keating,
  Elizabeth, “COVID-19, Market Consolidation, And Price Growth,” August 2020, available at:
  https://www.healthaffairs.org/do/10.1377/hblog20200728.592180/full/.
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            COVID-19 and patients have long had limited access to cancer treatment.121,122 While CMS
            recognizes that the Rule may be especially detrimental to certain practices and provide a
            financial hardship exemption for those that meet certain criteria, application for the
            exemption appears to be burdensome, which may limit the viability of application and
            likelihood of success.123

                                (b) Harm to Patients
63.         The MFN Rule is an attempt to address rising drug costs for Medicare Part B beneficiaries.
            However, this rule will result in harm to the very individuals that it is intended to benefit.
            This harm will come in the form of immediate reduced access to existing live-saving
            treatments, as well as a reduction in long-term innovation that will prevent the discovery of
            future therapies.

64.         CMS itself acknowledges the potential for immediate harm, stating that “for drugs with
            significant use outside of Medicare, manufacturers may be willing to sacrifice utilization and
            revenue within the model.”124 Access to medication is a critical element of effective
            healthcare and is indeed one of the metrics that CMS will be monitoring as it measures the
            impacts of the MFN Rule.125 Yet the provider challenges that are described in the previous
            section will immediately disrupt Medicare beneficiary access to drugs under the MFN Rule.

65.         Providers that are unable to carry the cost of more expensive MFN Rule drugs for Medicare
            beneficiaries may look for ways to treat patients that are not regulated by the MFN Rule.
            This could include relying on less expensive therapies that may not be the best treatment.
            Indeed, there is historical precedent for shifts of this nature. The current ASP-based payment
            formula was established in 2003 as part of the Medicare Modernization Act, which adopted
            ASP as a reimbursement metric for most Part B products instead of the prior used Average

      121
      Vestal, Christine, “COVID-19 Patients Swamp Rural Hospitals,” PEW Trusts, October 20, 2020, available at:
  https://www.pewtrusts.org/en/research-and-analysis/blogs/stateline/2020/10/20/covid-19-patients-swamp-rural-
  hospitals.
  122
      In 2020, 66 percent of rural counties did not have an oncologist, representing 32 million Americans. See “State of
  Cancer Care in America,” American Society of Clinical Oncology, 2020, available at:
  https://www.asco.org/research-guidelines/reports-studies/state-cancer-care.
  123
      MFN Rule, p. 76222.
  124
      MFN Rule, p. 76236. See also MFN Rule, Table 11, p. 76237, which shows assumptions on reduced availability
  that underlie a model of estimated economic impacts of the MFN Rule.
  125
      MFN Rule, p. 76221.
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         Wholesale Price reimbursement metric.126 There is evidence that this switch from an Average
         Wholesale Price to an ASP-based system and corresponding loss in provider revenue
         changed treatment practices.127 Some providers began administering more services to
         generate additional revenue, and others began shifting to providing services with greater
         margins.128 Reductions in Medicare Part B reimbursements are likely to drive similar
         changes, especially if changes in manufacturer prices lag the implementation of the MFN
         Rule. While CMS assumes there may be reduced utilization of affected drugs because
         providers are no longer incentivized by the higher add-on payment,129 they neglect to
         mention that reduced utilization could also be driven by providers switching patients to other
         available alternatives that are more economically viable because they are not covered under
         the MFN Rule.130 Transitions from a physician’s preferred treatment choice that represents
         the best likely outcome for a patient to a second choice that is more economically viable
         would be immediately harmful to patients.

                      2. Lower expected returns will immediately depress investment and harm
                         patients through diminished future innovation
66.      Investment in pharmaceutical R&D is very risky with a high failure rate. One recent article
         reported that “overall failure rate in drug development of over 96 percent, including a 90
         percent failure rate during clinical development.”131 Large expected payoffs for the small
         number of success are needed to offset the high failure risk and sunk costs for most
         development projects in order to incentivize investment. The MFN Rule is targeting the very


  126
      “H.R.1 - Medicare Prescription Drug, Improvement, and Modernization Act of 2003,” Congress.gov, December
  8, 2003.
  127
      Glied, Sherry and Haninger, Kevin, “Medicare Part B Reimbursement of Prescription Drugs,” ASPE Issue Brief,
  June 2014, p. 4, available at: https://aspe.hhs.gov/system/files/pdf/106966/ib_mprpd.pdf, (“As had been expected,
  the change in the Medicare Part B drug payment system had immediate impacts on the revenues of the affected
  providers.”).
  128
      Glied, Sherry and Haninger, Kevin, “Medicare Part B Reimbursement of Prescription Drugs,” ASPE Issue Brief,
  June 2014, p. 4, available at: https://aspe.hhs.gov/system/files/pdf/106966/ib_mprpd.pdf.
  129
      MFN Rule, p. 76235.
  130
      After the introduction of ASP in 2003, Jacobson et al. (2010) found that oncologists seemed to switch from
  dispensing the drugs that experiences the largest cuts in margin to alternative high-margin drugs. See Jacobsen,
  Mireille et al., “How Medicare’s Payment Cuts For Cancer Chemotherapy Drugs Changed Patterns Of Treatment,”
  Health Affairs, Vol. 29, No. 7, July 2010, pp. 1391–1399, at 1391.
  131
      Hingorani, Aroon, et al., “Improving the odds of drug development success through human genomics: modelling
  study,” Scientific Reports Nature Research, Vol. 9, No. 18911, 2019, pp. 1-25, at p. 2, available at:
  https://www.nature.com/articles/s41598-019-54849-w.
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            drugs that are successful: those that help many patients, and can command a high price
            because of the therapeutic value they offer patients. The MFN Rule will have an immediate
            impact on innovation by signaling to manufacturers and investors that these high value drugs
            will face a lower return on investment. The R&D decisions by a manufacturer depends on the
            expected net present value of the investment, which in turn depends on factors such as future
            prices, future uptake of the drug, failure risk, and manufacturing cost.132 Innovators will
            immediately face less favorable terms for their investments, causing them to scale back
            certain development programs.133 In addition, investment in early stage assets and
            biotechnology companies, which currently reflect an increasing share of the
            biopharmaceutical pipeline development,134 will be hampered by the same economic logic.

67.         Reducing R&D investment will have adverse effects on drug development and innovation.
            Both the number of new drugs and the composition of new drugs developed will be affected.
            The MFN Rule may disproportionately affect the development of new drugs in therapeutic
            areas that are more likely to be treated with the types of drugs administered through
            Medicare Part B, such as oncology. The MFN Rule will also disproportionately affect drugs
            with a “high elasticity of innovation,” since certain therapeutic areas are riskier to invest in or
            have lower expected returns than others.135 Considerable economic research has
            demonstrated the link between the profitability of prescription drugs and incentives for
            innovation; thus large reductions in drug pricing imposed through MFN Rule will have
            substantial effects on both the amount of innovation and the composition due to the MFN
            Rule’s focus on Part B drugs. I discuss this further in Section IV.B.2(c). This investment
            decision-making process will be affected immediately when the MFN rule goes into effect
            and will impact the next generation of drugs. The potential cost of this forgone innovation is
            significant and immeasurable because economists do not know what drugs will not be
            invented and thus, unavailable to patients.


      132
      Blume-Kohout, Margaret E., and Neeraj Sood, "Market Size and Innovation: Effects of Medicare Part D on
  Pharmaceutical Research and Development." Journal of Public Economics 97 (2013): 327-336; Bagley, Nicholas, et
  al., “It’s time to reform the Orphan Drug Act,” NEJM Catalyst 4.6, December 19, 2018.
  133
      Bagley, Nicholas, et al., “It’s time to reform the Orphan Drug Act,” NEJM Catalyst, December 19, 2018.
  134
      “The Changing Landscape of Research and Development,” IQVIA Institute for Human Data Science, April 2019,
  pp. 1-72, at 1.
  135
      Dubois, Pierre et al., “Market size and pharmaceutical innovation,” The RAND Journal of Economics, Vol. 46,
  No. 4, 2015, pp. 844-871.
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68.      Innovation can also be hampered through the decline in pharmaceutical revenues that will
         arise from the reassessment of global access strategies. As mentioned earlier, pharmaceutical
         companies have limited ability to raise prices in international markets, counter to what the
         MFN Rule assumes. For starters, if international prices were easily raised, they would have
         already been raised. Most reference markets use some form of government-regulated pricing,
         with the ability to deny coverage of medications. This leaves manufacturers with limited
         bargaining power. Manufacturers thus face a stark choice between accepting government-
         imposed prices and deciding not to sell a product in a given market. Given the prominence of
         the U.S. in the global drug market, manufacturers may choose to exit, or not to launch their
         medications, in countries with small markets where a low government-imposed price could
         lead to a reduced price in the U.S. Not only would this lead to reduced global access to
         important medications, but this would also lead to reduced revenues, and in turn, reduced
         ability to fund future innovative therapies. Exiting countries harms patients in those countries
         and means lower revenues for manufacturers. Over the long-term, revenues would fall even
         more, having a detrimental effect on innovation.

69.      The MFN Rule may exacerbate disparities in access to therapies that treat certain racial
         groups with a disproportionately higher burden of a particular disease. For example, sickle
         cell disease (SCD) is more prevalent in the U.S. relative to some other OECD countries,
         because it disproportionately affects African Americans.136 Development of promising new
         treatments for SCD could be hampered if their future price were anchored to prices in MFN
         Rule countries that value them less due to lower prevalence of this disease. Similarly, triple-
         negative breast cancer (TNBC) is also shown to be more prevalent among the African
         American population.137 As a result, prices set in some OECD countries for drugs that treat
         these types of diseases may not reflect the value of those treatments to the U.S. population.
         If drugs that treat these types of disease areas are added to the MFN Rule drug list, their
         future price would be reduced because they are not as valued to patients in some OECD


   136
      “Sickle Cell Disease,” American Society of Hematology, accessed on December 9, 2020, available at:
  https://www.hematology.org/education/patients/anemia/sickle-cell-disease.
  137
      Boyle, P., “Triple-negative breast cancer: epidemiological considerations and recommendations,” Annals of
  Oncology, Vol. 23, Supplement 6, August 12012, pp. vi7-vi12, available at:
  https://www.annalsofoncology.org/article/S0923-7534(19)37635-5/fulltext.
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         countries as they are to patients in the U.S. The lower prices associated with the MFN could
         reduce incentives to invest in valuable therapies, such as Trodelvy, which the FDA recently
         granted accelerated approval to for the treatment of patients with TNBC.138 By affecting
         innovation incentives and reducing the expected returns on investment for these types of
         drugs, the long term effects could be particularly harmful and exacerbate health inequities in
         this country.139

                            (a) Innovative therapies currently targeted by MFN Rule
70.      While the MFN Rule was proposed in response to increases in Medicare Part B drug
         spending,140 as noted in the Rule, growth in spending does not necessarily reflect increases
         over time in the costs of the same drugs; it also reflects the launch of new, highly valuable
         medications that were not available to patients before.141 According to a recent study of
         prescription drugs, only a third of pharmaceutical revenues are driven by increases in prices
         of existing drugs; instead, the vast majority of revenue increase is driven by the entry of
         novel drugs.142 A similar dynamic is at play in Medicare Part B. As mentioned earlier, the
         growth of Part B spending over time has been driven primarily by innovative new drugs,
         including drugs with an orphan designation, those used to treat cancer or blood diseases, or
         those used in diagnostic imaging.143 These innovative drugs are valuable because of the
         therapeutic benefit they provide U.S. patients in terms of health outcomes and quality of life.




  138
      “FDA Approves New Therapy for Triple Negative Breast Cancer That Has Spread, Not Responded to Other
  Treatments,” FDA, April 22, 2020, accessed on December 8, 2020, available at: https://www.fda.gov/news-
  events/press-announcements/fda-approves-new-therapy-triple-negative-breast-cancer-has-spread-not-responded-
  other-treatments.
  139
      MFN Rule, p. 76249.
  140
      MFN Rule, p. 76180.
  141
      MFN Rule, p. 76182.
  142
      Kakani, Pragya, Michael Chernew, and Amitabh Chandra, “Rebates in the Pharmaceutical Industry: Evidence
  from Medicines Sold in Retail Pharmacies in the US,” National Bureau of Economic Research, Working Paper, No.
  w26846, 2020, p. 4, available at: https://www.nber.org/papers/w26846.
  143
      “Medicare Part B Expenditures for New Drugs Concentrated among a Few Drugs, and Most Were Costly for
  Beneficiaries,” U.S. Government Accountability Office, October 2015, available at:
  https://www.gao.gov/assets/680/673304.pdf.
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         Indeed, the declining U.S. cancer death rate over the last two decades has been attributed in
         part to these drugs.144

71.      Looking more specifically at the drugs included in year 1 of the MFN Rule, 40 drugs
         received some type of novel drug indications from the FDA (see Exhibit 7). Many of these
         drugs are indicated for the treatment of cancer and various eye conditions, diseases which are
         prevalent amongst Medicare Part B beneficiaries. Many of these drugs were first approved in
         the U.S., approximately 16 percent of these drugs were designated first-in-class therapies,
         and 34 percent of these drugs were designated breakthrough therapies. Breakthrough
         therapies means that preliminary clinical evidence indicated that the drug may result in
         substantial improvement over current therapies.145 Examples of breakthrough drugs used by
         Medicare Part B beneficiaries include Keytruda (pembrolizumab), an immunotherapy to treat
         melanoma, liver cancer, lung cancer, and various other forms of cancer;146 Opdivo
         (nivolumab), an immunotherapy to treat lung cancer, melanoma, kidney cancer, and other
         types of cancer;147 and Ocrevus (ocrelizumab), which treats multiple sclerosis (MS) and is
         the only treatment approved by the FDA to treat primary progressive MS.148

72.      Another important consideration is that the MFN Rule will widen its reach over time. Even in
         year 1, CMS estimates that the 50 drugs included in the MFN Rule will account for
         “approximately 75 percent of annual Medicare Part B drug allowed charges for separately
         payable drugs.”149 While starting with only 50 drugs, the list of drugs will only grow wider,
         because drugs can typically only be added and not removed from the list.150


   144
      Advances in therapies for lung cancer have also contributed to the decline in lung cancer mortality. The decline
  in mortality for non-small-cell lung cancer outpaced the decline in incidence from 2013 to 2016, suggesting that
  improvements in survival due to improved treatments explain the reduction in mortality. See Howlader, Nadia, et al.,
  “The Effect of Advances in Lung-Cancer Treatment on Population Mortality,” New England Journal of Medicine,
  Vol.383, No 7, 2020, pp. 640-649.
  145
      “Breakthrough Therapy,” FDA.gov, January 4, 2018, available at: https://www.fda.gov/patients/fast-track-
  breakthrough-therapy-accelerated-approval-priority-review/breakthrough-therapy.
  146
      “A Breakthrough Immunotherapy That May Help you Face Your Cancer”, Keytruda, accessed on December 8,
  2020, available at: https://www.keytruda.com/.
  147
      “OPDIVO Immunotherapy: Giving People a Choice and a Chance Against Their Cancer,” Opdivo, accessed on
  December 9, 2020, available at: https://www.opdivo.com/.
  148
      “FDA approves new drug to treat multiple sclerosis,” FDA, March 29, 2017, accessed on December 8, 2020,
  available at: https://www.fda.gov/news-events/press-announcements/fda-approves-new-drug-treat-multiple-
  sclerosis.
  149
      MFN Rule, p. 76193.
  150
      MFN Rule, p. 76192. See also, Complaint, ¶ 68.
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                             (b) Literature has consistently established that reductions in revenues will
                                 jeopardize future innovation
73.      Considerable research has analyzed the effects of changes in prices and revenues on
         innovation. Giacotto, Santerre and Vernon (2005) find that a 10 percent increase in the rate
         of growth of drug prices in the U.S. is associated with an almost six percent increase in
         growth of R&D intensity.151 They find that if the government had limited the price growth of
         drug prices from 1980-2001 to the rate of growth of the consumer price index, there would
         have been one third fewer drug launches in the global market during that time period. Abbot
         and Vernon (2007) project that cutting prices by 40 percent to 50 percent in the U.S. will lead
         to 30 percent to 60 percent fewer R&D projects undertaken.152 Goldman and Lackdawalla
         (2018) conclude that if prices for pharmaceuticals in Europe were 20 percent higher (holding
         prices in the U.S. fixed), the incentives for innovation would increase, and the gains would
         result in welfare increases of $10 trillion for the U.S. and $7.5 trillion for Europe over the
         next 50 years.153

74.      Previous academic work has also found the effect of decreases in market size on innovation.
         The implementation of the MFN Rule would have a high likelihood of reducing market size,
         and thus reducing innovation. Acemoglu and Linn (2014) find that a 1 percent decrease in
         potential market size leads to a 4-6 percent decrease in total number of drugs entering U.S.
         market.154 Blume-Kohout and Sood (2013) find that Medicare Part D implementation was
         associated with a significant increase in R&D for drugs with higher Medicare market
         share.155 Dubois et al. (2015) find that a 10 percent reduction in revenue leads to 2.3 percent
         fewer new chemical entities. They also find that $2.5 billion is needed on average to bring



   151
      Giaccotto, Carmelo, Rexford E. Santerre, and John A. Vernon, “Drug prices and research and development
  investment behavior in the pharmaceutical industry,” The Journal of Law and Economics, Vol. 48, No.1, 2005, pp.
  195-214, at 195.
  152
      Abbott, Thomas A. and John A. Vernon, “The Cost of US Pharmaceutical Price Regulation: A Financial
  Simulation Model of R&D Decisions,” Managerial and Decision Economics, Vol. 28, 2007, pp. 293-306, at 293.
  153
      Dana Goldman, Darius Lakdawalla, “The Global Burden of Medical Innovation,” Leonard D. Schaeffer Center
  for Health Policy & Economics, University of Southern California, January 2018, available at:
  https://bit.ly/34dtzXR.
  154
      Acemoglu, Daron and Joshua Linn, “Market size in innovation: theory and evidence from the pharmaceutical
  industry,” The Quarterly Journal of Economics, Vol. 119, No. 3, 2004, pp. 1049-1090.
  155
      Blume-Kohout, Margaret E. and Neeraj Sood, “Market size and innovation: Effects of Medicare Part D on
  pharmaceutical research and development,” Journal of Public Economics, Vol. 9, 2013, pp. 327-336.
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         one additional drug to the market.156 Civan and Maloney (2009) find that a 50 percent
         decrease in U.S. drug prices leads to a 25 percent or larger decrease in the number of drugs in
         the development pipeline.157

75.      Support for the negative, long-term impact of prescription drug reference pricing policies on
         pharmaceutical innovation also comes from the Congressional Budget Office’s (CBO)
         analysis of H.R.3. While a different scope than the MFN Rule, H.R.3 proposed a reference
         pricing strategy for drugs reimbursable under Medicare Part D. The policy would have
         required drug manufacturers to negotiate prices for certain prescription drugs with the
         Secretary of Health and Human Services.158 These negotiated prices could not exceed 120
         percent of the average prices paid in six foreign markets (Australia, Canada, France,
         Germany, Japan, and the United Kingdom).159 The CBO concluded such a reference pricing
         strategy would have sweeping effects on the pharmaceutical industry, “immediately
         [lowering] current and expected future revenue for drug manufacturers, [changing]
         manufacturers’ incentives, and [having] broad effects on the drug market.”160 The CBO
         estimated that the H.R.3 reference pricing policy would have reduced manufacturer revenue
         by 19 percent: a sizable magnitude that would curtail spending on research and development
         specifically, leading to fewer new and innovative drugs reaching the market.161, 162


  156
      Dubois, Pierre et al, “Market size and pharmaceutical innovation,” The RAND Journal of Economics, Vol. 46,
  No. 4, 2015, pp. 844-871.
  157
      Civan, Abdulkadir and Michael T. Maloney, “The Effect of Price on Pharmaceutical R&D,” The B.E. Journal of
  Economic Analysis & Policy, Vol. 9, No. 1, 2009.
  158
      Each year, the Secretary would choose 25 drugs at minimum to which the reference pricing scheme would be
  applied. These would be drawn from a list of 125 single source drugs with the highest federal spending in Part D and
  the highest nest spending in the commercial market. See, Swagel, Phillip L, “Re: Effects of Drug Price Negotiation
  Stemming From Title 1 of H.R. 3, the Lower Drug Costs Now Act of 2019, on Spending and Revenues Related to
  Part D of Medicare,” U.S. Congress Congressional Budget Office, October 11, 2019, available at:
  https://www.cbo.gov/system/files/2019-10/hr3ltr.pdf, p.3 (“CBO 2019a”).
  159
      For drugs without international comparators, a “maximum fair price” was determined such that it could not
  exceed 85 percent of the average manufacturer price (the average price charged to wholesalers and pharmacists.
  Additionally, manufacturers who did comply with the rule would face substantial excise taxes of up to 95 percent of
  sales for the drug targeted by the Secretary. See, CBO 2019a, p. 1.
  160
      CBO 2019a, p. 1.
  161
      Swagel, Phillip L, “Re: Budgetary Effects of H.R. 3, the Elijah E. Cummings Lower Drug Costs Now Act,” U.S.
  Congress Congressional Budget Office, December 10, 2019, available at: https://www.cbo.gov/system/files/2019-
  12/hr3_complete.pdf, at pp. 6-7 (“CBO 2019b”).
  162
      CBO 2019b, p. 5 (“[…] the potential global revenues for a new drug over its lifetime would decline as a result of
  enactment, and in some cases the prospect of lower revenues would make investments in research and development
  less attractive to pharmaceutical companies. The result would be fewer new drug products developed and coming to
  market.”).
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76.      The CBO analysis anticipated a 10 percent reduction in the number of new pharmaceuticals
         as a result of the decreased revenues from H.R.3, or roughly 30 fewer drugs for every decade
         the policy was fully in place.163 The CBO used an implicit “elasticity of innovation” (i.e., the
         percentage reduction in the number of new drugs developed by manufacturers in response to
         a 1 percentage point reduction in manufacturer revenue) of approximately 0.53, which
         indicates for every 10 percent decrease in market size or manufacturer revenue, there is 5.3
         percent decrease in the number of drugs reaching patients.164

77.      Even though the details and context of the MFN Rule are different from those of H.R.3, the
         CBO’s analysis provides further evidence of the detrimental impacts of reference pricing on
         innovation. Moreover, the CBO’s estimate may have been an underestimate of the effects of
         H.R.3 on pharmaceutical innovation.165 Academic journal articles cited by the CBO and
         discussed above suggest the “elasticity of innovation” could be much higher, meaning that a
         larger number of new and innovative drugs will no longer be available to patients.
         Substituting a unit “elasticity of innovation” -- almost double the magnitude of the elasticity
         implied by the CBO report, but well within the range of elasticities from other references
         discussed above -- yields an impact on manufacturer output that is twice as large. That means
         that if the CBO’s conservative estimate is off, perhaps 60 new drugs, instead of 30, will not
         reach the market during each decade the reference price policy is in full effect. This number
         grows to 100 drugs if we vary other components of the CBO’s model, such as the impact of
         reference pricing policies on manufacturers’ revenue, or the baseline number of drugs
         reaching the market.166 These calculations do not account for an increase in the general
         uncertainty of MFN-style pricing rules, such as expanding the number of drugs that it applies
         to or changing the MFN; such ad hoc changes increase uncertainty, reducing the incentives to
         invest.



   163
      CBO 2019b, p. 6.
   164
      Calculations in this paragraph are as follows: (10 percent reduction in the number of new pharmaceuticals)/(19
  percent reduction in manufacturer revenue) = 0.53 “elasticity of innovation.”
  165
      CBO 2019b, p. 6 (“The estimates are in the middle of the distribution of possible outcomes, in CBO’s
  assessment, and are uncertain.”).
  166
      Calculations are as follows: (i) assuming a unit elasticity, assuming the FDA approves 40 new drugs a year
  yields, and assuming a 25% reduction in manufacturer revenue yields (1) x (0.25) x (40 drugs/year x 10 years) =
  100 drugs not brought to market in the decades the policy is in full effect.
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78.      In addition to reductions to the total volume of innovation, the MFN Rule could also affect
         the composition of the types of drugs being innovated. Certain therapeutic areas are
         disproportionately affected from reductions in revenue, because “elasticities of innovation”
         vary across therapeutic areas. Certain therapeutic areas are riskier to invest in than others.
         Previous studies, such as Dubois et al. (2015) have found that there is a higher elasticity for
         drugs targeting sensory organs, the nervous system, and antineoplastic and
         immunomodulating agents.167 In other words, investment in treatments for conditions such as
         cancer, or Alzheimer’s disease, is more likely to be affected. With reduced prices, there will
         be less incentive to invest in these therapeutic areas. In addition, Blume-Kohout and Sood
         (2013) analyze the impact of Medicare Part D legislation on R&D.168 They find that as a
         result of this legislation, which increased pharmaceutical revenues and sales, drugs with
         higher Medicare Part D market share (such as drugs for Alzheimer’s) saw more innovation
         than those with lower Medicare Part D market share.169 Therefore, the incentive effects were
         targeted at the relevant market segment affected. This suggests that price reductions in
         Medicare Part B drugs could lower innovation in Medicare Part B drugs in particular.

                            (c) The MFN Rule can alter incentives for manufacturers that can further
                                harm patients
79.      Reduced innovation will clearly harm patients through the development of fewer valuable
         new drugs. In addition to reducing incentives for innovation of new drugs, the MFN rule will
         result in additional harm to patients through other impacts on development incentives.

80.      For instance, subjecting the top 50 Medicare Part B drugs to the MFN Rule is an arbitrary
         designation. From a manufacturer’s perspective, there are substantial costs for undertaking
         investments that may result in a drug subsequently being subject to the MFN Rule.
         Manufacturers may have less incentive to conduct clinical trials to expand the indication and
         use of current drugs. New clinical evidence is often developed to support use of an existing
         drug for new diseases or in new patient populations, such as pediatric use. However, for a

   167
      Dubois, Pierre, et al., “Market size and pharmaceutical innovation,” The RAND Journal of Economics, Vol. 46,
  No. 4, 2015, pp. 844-871.
  168
      Blume-Kohout, Margaret E., and Neeraj Sood, “Market Size and Innovation: Effects of Medicare Part D on
  Pharmaceutical Research and Development,” Journal of Public Economics, Vol. 97, 2013, pp. 327-336.
  169
      Blume-Kohout, Margaret E., and Neeraj Sood, “Market Size and Innovation: Effects of Medicare Part D on
  Pharmaceutical Research and Development,” Journal of Public Economics, Vol. 97, 2013, pp. 327-336.
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          drug outside the top 50 MFN drugs, expanding its use and increasing patient access could
          potentially push the drug into the top 50 and trigger the MFN Rule for that drug, leading to
          lower profits than if its indication had not been expanded. The benefits of expanding access
          to the drug through investment in developing new clinical evidence (and potentially
          expanded FDA approved indications) may not be worth the risk of decreased revenues under
          the MFN Rule. This would harm patients who could have benefitted from increased access to
          the drugs as a result of expanded clinical evidence, with resulting peer-reviewed publications
          or FDA approval.

81.       Manufacturers could also have reduced incentives to expedite the approval and launch of
          some drugs in the U.S. The list of drugs subject to the MFN Rule is calculated once a year.170
          Therefore, instead of pushing to launch a drug earlier in the year where the drug has a higher
          chance of earning sufficient revenues to make its way into the top 50, and be subject to
          regulated prices under the MFN Rule in the next year, manufacturers may be more willing to
          take more time with launching the drug, and thereby enjoy unregulated pricing for an
          additional year. While the extra months can seem marginal, many of these drugs are
          innovative, novel drugs where earlier access can be crucial for improved patient outcomes.

82.       Additionally, the MFN Rule will affect manufacturers’ market access strategies, as discussed
          previously. In making the decision whether and when to enter certain countries,
          manufacturers will face an increased burden to evaluate market access and launch strategies
          in reference countries. These additional efforts increases manufacturers’ fixed costs, that in
          turn, reduces manufacturers’ return on R&D, further hindering innovation.

83.       First, manufacturers will need to figure out the MFN price for each of their drugs subject to
          the MFN Rule, including the uncertainty of the price that CMS uses as the country-level
          price in the MFN Rule countries. Even though CMS acknowledges that to calculate the MFN
          price, it will use rebates and discounts to the extent possible,171 it is unclear how exactly
          CMS plans to do this, and how accurately CMS can determine this net price. In addition to
          determining the MFN price, manufacturers will also need to determine whether they have the
          ability to raise the price in other countries, and how that would affect competitors. In the


   170
         MFN Rule, p. 76192.
   171
         MFN Rule, p. 76196
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           immediate term, this includes obtaining international drug pricing information, adjusting
           volume data to align with the HCPCS billing unit, and estimating the unit volume of MFN
           Rule drugs furnished to MFN beneficiaries. These manufacturers will also need to assess
           alternative pricing strategies and to renegotiate contracts with U.S. customers for each MFN
           drug. This involves identifying providers and suppliers included and excluded from the MFN
           Rule, estimating the distribution of beneficiaries across acquiring providers, measuring MFN
           drugs as a share of total drugs purchased by each acquiring provider, and assessing which
           adjustments need to be made to ensure providers are able to cover costs. In the longer term,
           these manufacturers will need to assess the cost and revenue implications of launching in
           each potential reference country. While this increased fixed cost of global operations may be
           feasible for large companies, it could discourage smaller manufacturers from entering new
           countries.

84.        The reductions in R&D investment will be further exacerbated by other arbitrary attributes of
           the MFN Rule, which increase uncertainty about how Medicare reimbursements will be
           regulated in the future. For example, as written, the MFN Rule includes countries whose
           PPP-adjusted GDP per capita is at least 60 percent of that of the U.S. However, countries
           whose GDP is 60 percent of the U.S. GDP per capita are very different from the U.S. There
           is uncertainty about which marginal country could be added to the reference basket from year
           to year. Because the MFN Rule prices are based on the lowest price in the reference basket,
           the inclusion of a new country could add further uncertainty to long term investment
           decisions.


      V.      ADDITIONAL CONSIDERATIONS

                        Drug pricing decision frameworks in other countries are fundamentally
                        different from the U.S. approach to healthcare.
85.        The U.S. approach to funding healthcare is different from the approach in other OECD
           countries. It reflects, among other principles, a market-based approach to valuation of
           innovation and clinical and health benefits associated with prescription drugs. Healthcare
           coverage relies on a combination of public, government-provided healthcare (e.g., Medicare
           and Medicaid) and private insurance providers (e.g., Blue Cross, United Healthcare). Private
           insurance is provided primarily by employers. This is in contrast to many OECD countries,
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         where the government provides universal, single payor coverage, where prices of healthcare
         services and pharmaceuticals are centrally negotiated (subject to pricing restrictions and
         regulations).

86.      As a result of the largely market-based approach to healthcare, more innovative drugs are
         available in the U.S., and drugs tend to launch first in the U.S, as discussed in more detail
         above.172 The proposed MFN Rule would attempt to import only prices, but ignores the
         context and valuations in which those prices are established. As discussed above in Section
         IV.A, Exhibit 5 outlines some of these different policy choices for many representative
         reference countries, including universal healthcare coverage and factors determining price
         that include cost-effectiveness and reference pricing. These differences reflect different value
         judgments compared to the U.S. Medicare system.

87.      To begin with, the use of international reference pricing in reference countries could lead to
         adopting the prices of countries whose PPP-adjusted GDP per-capita is lower than the 60
         percent PPP-adjusted GDP per-capita cutoff that the MFN Rule imposes. For instance,
         Germany and Ireland include Greece as a reference country. By importing a price from
         Germany or Ireland, the U.S. could be indirectly also importing the price from Greece, which
         would violate the stated intention of the MFN Rule.

88.      Second, in many OECD countries, the HTA agency determines reimbursement and cost-
         effectiveness, either formally by calculating a cost per quality-adjusted life-year (QALY), or
         informally by assessing therapeutic value and cost of comparators. One year of life in perfect
         health is valued at one QALY, while one year of life at suboptimal health would be valued at
         below one QALY. The cost per QALY is a cost-effectiveness measure that compares the
         additional cost of a new treatment, and divides it by the QALY gained.173 These assessments
         make judgments on how much an incremental life-year, or additional therapeutic value, is
         worth, but ignore a variety of other sources of value. For example, patients may care about
         medicines that reduce the probability of death or blindness even though they don’t have the


  172
      In the U.S., the value proposition for pharmaceuticals is also higher because the value of cost avoidance is higher
  (i.e., the cost savings of pharmaceuticals associated with, for example, reduced time in hospital or less frequent
  emergency room visits). Other countries may have a lower value proposition because the cost of hospitalizations and
  medical care is controlled, leading to a lower value of avoidance.
  173
      Kirkdale, R., et al., “The cost of a QALY,” QJM, Vol. 103, 2010, pp. 715–720, available at:
  https://doi.org/10.1093/qjmed/hcq081.
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         disease that the drug treats—these kinds of ‘option values’ are ignored in HTA analysis.
         Drugs that do not pass certain thresholds, whether explicit or implicit, will not be reimbursed
         unless a lower price is offered. This interplay between pricing and access means that if a drug
         is determined to be priced too high, coverage could be denied. These formal HTA processes
         are also an added layer for drug approval, and could result in delayed market access. In
         contrast, in the U.S., there is no formal threshold over which Part B drugs will not be
         reimbursed.

89.      For instance, taking the example of the U.K., its HTA agency, the National Institute for
         Health and Care Excellence (NICE), will typically not approve a drug for reimbursement by
         the NHS if the incremental cost of the drug for every QALY gained is over £30,000
         (~$40,000 with current exchange rates).174 The U.S., however, currently does not have a cost
         per QALY threshold, and U.S.-based organizations like ICER consider far higher ranges up
         to $150,000 per QALY. As a result, higher cost drugs do come to market in the United
         States, but that higher cost reflects the higher value placed on life years gained in this
         country. Under the MFN Rule, the UK price will serve as a benchmark for prices in the U.S.
         The U.K. could perhaps tolerate discouraging innovation on certain drugs, if those drugs do
         not meet the cost per QALY threshold based on a lower value of life. However, this
         restriction discourages investment in certain drugs that would be considered worthwhile
         under U.S. standards.

90.      As another example, in Sweden, the HTA agency, Pharmaceutical Benefit Board of the
         Dental and Pharmaceutical Benefits Agency, makes pricing and reimbursement decisions
         based on a drug’s cost-effectiveness as well as that nation’s “human value principle, and [its]
         need and solidarity principle.”175 Although Sweden has no formal cost per QALY threshold,
         in recent years, cost-effectiveness has ranged between €35,000 (~$42,000) and €100,000



  174
      There is a £50,000 threshold for end of life care applicable to some cancer drugs. See Paulden, Mike, “Recent
  amendments to NICE’s value-based assessment of health technologies: implicitly inequitable?” Expert Review of
  Pharmacoeconomics & Outcomes Research, 2017, Vol. 17, No. 3, pp. 239-242, available at:
  https://doi.org/10.1080/14737167.2017.1330152. The GBP to USD conversion rate as of December 10, 2020 was
  1.3270. See “GBP-USD X-RATE,” Bloomberg, accessed December 10, 2020, available at:
  https://www.bloomberg.com/quote/GBPUSD:CUR.
  175
      Moise, Pierre and Elizabeth Docteur, “Pharmaceutical Pricing and Reimbursement Policies in Sweden,” OECD
  Health Working Papers, 2007, pp. 1-67, at 16-17.
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            (~$120,000) per QALY.176 Certain higher cost drugs may not meet the cost-effectiveness
            criteria, but are approved based on Sweden’s principles of human dignity and need and
            solidarity.177 Sweden’s principles state that all people have equal rights and value, and that
            the needs of groups with more pressing healthcare needs should have more healthcare
            resources.178 Similarly to the U.K., higher cost drugs do come to the market, but their
            approval is based off of Sweden’s own value systems, which may be different from those of
            the U.S.

91.         Thus, under the proposed MFN Rule, the U.S would be importing pricing processes and
            value judgments that the U.S. has not formally evaluated, much less adopted. These countries
            have adopted different criteria for quality and outcomes in their value framework, which may
            be different from value frameworks that are generally accepted in the U.S. For instance,
            criteria such as the QALY value of incremental quality-adjusted-life-years, which many of
            the OECD countries use to assess drug pricing, will understate a variety of benefits that
            ordinary, actual patients value, like the ability of medicines to bridge the gap until the arrival
            of another medicine, or the insurance value of eliminating the risk of blindness or death.
            Different countries may also have different rates of reported health problems and different
            population norms, as measured by the EQ-5D survey.179

                        Other policies can improve affordability of drugs to seniors with fewer
                        detrimental effects.
92.         The MFN Rule is a crude policy tool that risks many unintended consequences and does not
            address broader affordability issues across the U.S. healthcare system. The price reductions it
            imposes are calibrated based on lower values other countries place on the clinical benefits of
            innovative medications. These price reductions will negatively impact pharmaceutical



      176
          Ollendorf, Daniel A., et al., “Evaluating and Valuing Drugs for Rare Conditions: No Easy Answers,” Value in
      Health, 2018, Vol. 21, pp. 547-552, at 550. The EUR-USD conversion rate as of December 10, 2020 was 1.2134,
      see “EUR-USD X-RATE,” Bloomberg, accessed December 10, 2020, available at:
      https://www.bloomberg.com/quote/EURUSD:CUR.
      177
          Moise, Pierre and Elizabeth Docteur, “Pharmaceutical Pricing and Reimbursement Policies in Sweden,” OECD
      Health Working Papers, 2007, pp. 1-67, at 17 footnote 10.
      178
          “Sweden,” The Commonwealth Fund, June 5, 2020, available at:
      https://www.commonwealthfund.org/international-health-policy-center/countries/sweden; “IQVIA Pharma Pricing
      & Reimbursement Country Guide - Sweden,” IQVIA, December 2019, pp. 1-48, at 4.
      179
           Janssen, M. F., et al., “Population norms for the EQ-5D-3L: a cross-country analysis of population surveys for
      20 Countries,” The European Journal of Health Economics, Vol. 20, No. 2, 2019, pp. 205-216.
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            innovation and lead to reduced access to future medications that will never be developed. In
            the short run and intermediate run, patients will experience immediate harm from reductions
            in drug availability, and providers will face further financial pressure on top of that already
            caused by the COVID-19 pandemic. Neither improves public welfare.

93.         There are other policies that can be used to address affordability, without jeopardizing
            innovation and harming patients and providers. For example, the U.S. could improve the
            current health insurance provided and reduce the burden of cost sharing on Medicare
            beneficiaries. The MFN Rule will not eliminate coinsurance payments for the small share of
            beneficiaries exposed to them in full, and will only modestly affect the premiums paid by
            those acquiring supplemental insurance. Removing the cost sharing liability for Original
            Medicare beneficiaries for the add-on payment is not that meaningful as they are still
            responsible for 20 percent of the drug cost. Insurance coverage with lower levels of cost
            sharing will more meaningfully improve affordability, and spread the costs more broadly
            across the population, rather than solely among those in need of expensive medications.
            Lower costs sharing has also been found to increase access to medications and compliance.180

94.         Cost sharing reduces the use of low-value and unnecessary treatments, by making
            beneficiaries face more of the costs of the care they receive. Because the medications
            affected by the proposed MFN Rule are often essential and even life-saving treatments, cost
            sharing instead serves to reduce affordability rather than unnecessary care. By moving away
            from the 20 percent coinsurance model, Medicare beneficiaries would receive this care at a
            more affordable cost without the risk of jeopardizing pharmaceutical innovation. States have
            taken a diverse array of policy options to address cost sharing, including capping the out-of-
            pocket drug costs that individuals face.181 Other alternatives include reducing coinsurance
            percentages or excluding costs of certain high value treatments from cost-sharing.

95.         Furthermore, there are more effective means than the MFN Rule to align provider incentives
            with outcomes in a way that increases affordability. If a goal of the proposed MFN Rule is to

      180
      Goldman, Dana et al., “Prescription Drug Cost Sharing,” RAND Health, 2009, pp. 1-4, available at:
  https://www.rand.org/pubs/research_briefs/RB9474.html.
  181
      Corlette, Sabrina, Ashley Williams, and Justin Giovannelli, “State Efforts to Reduce Consumers’ Cost-Sharing
  for Prescription Drugs,” The Commonwealth Fund, November 16, 2015, available at:
  https://www.commonwealthfund.org/blog/2015/state-efforts-reduce-consumers-cost-sharing-prescription-drugs.
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       “[r]emove or reduce the financial incentive to prescribe higher-cost drugs more
       frequently,”182 in a way that reduces costs for beneficiaries while maintaining the quality of
       care, alternative payment models would achieve this goal without the type of diminution of
       innovation and access to care that the MFN Rule will cause.




I declare under penalty of perjury that the foregoing is true and correct. Executed on this 10th

day of December, 2020.




                                                                                    Amitabh Chandra
                                                                                   December 10, 2020




182
      MFN Rule, p. 76181.
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                                   Appendix

                                       Amitabh Chandra


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Citizenship
United States
India (overseas citizen)



Degrees
MA     Honorary Degree, Harvard University, 2009

Ph.D Economics, University of Kentucky, 2000
     Dissertation: Labor Market Dropouts and the Racial Wage Gap, 1940-1990

BA     Economics, University of Kentucky, 1996



Employment

July 2020 - present        John H. Makin Visiting Scholar
                           American Enterprise Institute

July 2018 - present:       Henry and Allison McCance Family Professor of Business Administration
                           Faculty Chair, MS/MBA Program in the Life-Sciences
                           Harvard Business School

July 2015 - present:       Ethel Zimmerman Wiener Professor of Public Policy
                           Harvard Kennedy School of Government

April 2009 – present:      Professor and Director of Health Policy Research
                           Harvard Kennedy School of Government


October 2009 - present:    Research Associate
                           National Bureau of Economic Research (NBER)

July 2012 - present        Panel of Health Advisors
                           Congressional Budget Office



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Previous Positions


July 2012 - 2014         Visiting Scholar
                         American Enterprise Institute

January 2011 - 2012:     Special Commissioner
                         Massachusetts Commission on Provider Price Reform

December 2011 - 2019     Chair Editor and Editor
                         Review of Economics and Statistics

April 2011 - July 2016   Consultant
                         Microsoft Research

April 2008 - 2015:       Associate Editor
                         American Economic Journal: Applied

July 2008 - 2012:        Co-Editor
                         Journal of Human Resources

July 2005 – 2009:        Assistant Professor
                         Harvard Kennedy School of Government

April 2002 - 2009:       Faculty Research Fellow
                         National Bureau of Economic Research (NBER)

July 2003 - 2012:        Associate Editor, former Co-Editor
                         Economics Letters

July 2004 - 2012:        Editorial Board
                         Forum in Health Economics and Policy


July 2002 – 2003:        Visiting Assistant Professor
                         MIT Department of Economics

July 2000 – 2005:        Assistant Professor
                         Dartmouth College, Department of Economics




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Consulting and Advising
Academic Affiliate, Analysis Group (2020 - present)
Advisory Board of SmithRx (2018 - present)
Advisory Board of Kyruus (2015 - present)
Co-Founder, Health Engine (2013 - present)
Consultant, Precision Health Economics (2013 - 2016)
Consultant, RAND (1999-2000)

Harvard Committees
Blavatnik Fellowship in Life-Sciences Entrepreneurship, Advisory Board (2020 - present)
Faculty Chair, MS/MBA Program in Life-Sciences, Harvard Business School, (2019 - )
Faculty Chair, Executive Education Program in Life-Sciences, Harvard Business School, (2019 -)
University Benefits Committee, (2019 - present)
Standing Committee for Global Health and Health Policy (2010 - present)
Area Chair, Social and Urban Policy, Harvard Kennedy School (2012 - 2020)
Steering Committee, Harvard Center for Population and Development Studies (2009 - 2012)
Core Faculty, Harvard Robert Wood Johnson Program on Health and Society (2005 - 2011)
Director, PhD Admissions in Public Policy, Harvard Kennedy School (2011 - 2015)

Awards and Recognition
Elected Member, National Academy of Social Insurance, 2019
National Institute for Health Care Management (NIHCM) Research Award, 2018
George Burch Memorial Speaker, Association of University Cardiologists, 2013
Elected Member, National Academy of Medicine (Institute of Medicine), 2012
American Society of Health Economists, Medal for Best Economist under 40, 2012
Alumni Hall of Fame, Gatton College of Business, University of Kentucky, 2012
Distinguished Economist, Kentucky Economic Association, 2011
Garfield Award (with Douglas Staiger) for Economic Impact on Medical Research Award, 2008
Arrow Award (with Douglas Staiger) for the Best Paper in Health Economics, 2008
Visiting Scholar, Columbia University, October 2008
Distinguished Fellow, RAND Corporation, Bing Center for Health Economics, 2006-2008, 2011
Kentucky Colonel, 2005
NBER/NIA Aging Fellowship, 2005
Rockefeller Social Science Grant, 2002
Nelson Rockefeller Center Fellow, 2001-2002 and 2003-2004
First-Prize, W.E. Upjohn Institute Dissertation Award, 2001
Commonwealth Research Award, 2000
University Dissertation Year Fellowship, 1999
Outstanding Teacher Award, 1999
Kentucky Economic Association, Best Paper Prize, 1998



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Public Service

Member, Congressional Budget Office Panel of Health Advisors, 2012 - present
Special Commissioner, Massachusetts Commission on Provider Price Reform, 2011 - present
Testimony, US Commission on Civil Rights May 2009
Testimony, US Senate, November 2008
Consultant, National Academy of Medicine (formally, Institute of Medicine), 2002, 2009, 2011, 2014


Teaching

       Econometrics (undergraduate)                                      Dartmouth

       Labor Economics (undergraduate)                                   MIT Economics
       Labor Economics (doctoral)                                        MIT Economics

       US Healthcare Policy (undergraduate and graduate)                 Harvard College
                                                                         Harvard Kennedy School

       Empirical Methods                   (MPP/MBA)                     Harvard Kennedy School
       Economics of Global Health          (MPP/MPH)                     Harvard Kennedy School
       Health Care Management              (Executive Education)         Harvard Kennedy School

       BioPharma Pricing and Innovation    (MBA)                         Harvard Business School
       Transforming Health Care Delivery   (MBA)                         Harvard Business School
       MD-MBA Seminar                      (MD/MBA)                      Harvard Business School
       Managing Health Care Delivery       (Executive Education)         Harvard Business School
       Strategy for Health Care Delivery   (Executive Education)         Harvard Business School
       Precision Medicine                  (Executive Education)         Harvard Business School




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Papers in Economics

1.    “Identifying Sources of Inefficiency in Healthcare,” with Douglas Staiger. Quarterly Journal of
       Economics 135(2), May: 785-843

2.    “Economic Principles for Medicare Reform” with Craig Garthwaite. Annals of the American
       Academy of Political and Social Science 686, November 2019.

3.    “The Orphan Drug Act at 35: Observations and an Outlook for the Twenty-First Century" with
      Nicholas Bagley, Benjamin Berger, Amitabh Chandra, Craig Garthwaite, and Ariel Dora Stern.
      in Innovation Policy and the Economy, Volume 19, edited by Josh Lerner and Scott Stern, 97–137.
      University of Chicago Press, 2018.
4.    “Characterizing the Drug Development Pipeline for Precision Medicines,” with Craig Garth-
      waite and Ariel Dora Stern. NBER Working-Paper 24025. Forthcoming in Economic Dimensions
      of Personalized and Precision Medicine (Ernst Berndt, Dana Goldman and Jack Rowe, editors).

5.    “What Does a Deductible Do? The Impact of Cost-Sharing on Health Care Prices, Quantities,
      and Spending Dynamics,” with Zarek C. Brot-Goldberg, Benjamin R. Handel, Jonathan T. Kol-
      stad. Quarterly Journal of Economics, April 2017.

6.    “Healthcare Exceptionalism? Performance and Allocation in the U.S. Healthcare Sector,” with
      Amy Finkelstein, Adam Sacarny, Chad Syverson. American Economic Review, August 2016.

7.    “Sources of Inefficiency in Healthcare and Education,” American Economic Review Papers and
      Proceedings 106(5), May 2016, with Douglas Staiger.

8.    “Productivity Dispersion in Medicine and Manufacturing,” American Economic Review Papers
      and Proceedings 106(5), May 2016, with Amy Finkelstein, Adam Sacarny, Chad Syverson.

9.    “Is This Time Different? The Slowdown in US Healthcare Spending,” with Jonathan Holmes
      and Jonathan Skinner. Brookings Papers on Economic Activity, Fall 2013.

10.   “The impact of patient cost-sharing on low-income populations: evidence from
      Massachusetts.” J Health Econ 2014. Jan;33:57-66. doi: 10.1016/j.jhealeco.2013.10.008. PMID:
      24287175, with Jonathan Gruber and Robin McKnight.
11.   “Technology Growth and Expenditure Growth in Healthcare,” Journal of Economic Literature
      September 2012 with Jonathan Skinner.
12.   “Saving Money or Just Saving Lives? Improving the Productivity of U.S. Health Care Spend-
      ing,” Annual Review of Economics September 2012, with Katherine Baicker and Jonathan Skin-
      ner.
13.   “Who Ordered That? The Economics of Treatment Choices in Medical Care,” Handbook of
      Health Economics, Volume II: 397-432, with David Cutler and Zirui Song. 2012.

14.   “The Pragmatist’s Guide to Comparative Effectiveness Research,” Journal of Economic Perspec-
      tives 25 (2), Spring 2011, with Anupam Jena and Jonathan Skinner.



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15.   “Patient Cost Sharing in Low Income Populations.” American Economic Review, Papers and
      Proceedings May 2010, 100(2): 303–08, with Jonathan Gruber and Robin McKnight.
16.   “Patient Cost-Sharing and Hospitalization Offsets in the Elderly,” American Economic Review
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17.   “Understanding Agglomeration Economies in Healthcare,” in Agglomeration Economics, Ed-
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      Baicker.
18.   “Productivity Spillovers in Healthcare: Evidence from the Treatment of Heart Attacks,” Journal
      of Political Economy February 2007, with Douglas Staiger, pp. 103-140.

19.   “The Labor Market Effects of Rising Health Insurance Premiums,” Journal of Labor Economics
      July 2006, with Katherine Baicker, pp. 609-634.
20.   “Disability Risk and the Value of Disability Insurance,” in David Culter and David Wise
      (Editors), Health In Older Ages: The Causes and Consequences of Declining Disability Among the El-
      derly. University of Chicago Press, 2006, with Andrew Samwick.

21.   “The Effect of Malpractice Liability on the Delivery of Health Care” in David M. Cutler and
      Alan M. Garber (Eds.) Frontiers of Health Policy Research Vol 8, 2005, with Katherine Baicker, Ar-
      ticle 4.
22.   “The Consequences of the Growth in Health Insurance Premiums,” American Economic Review,
      Papers and Proceedings 94(2), May 2005, with Katherine Baicker, pp. 214-218.
23.   “Iatrogenic Specification Error: A Cautionary Tale of Cleaning Data,” Journal of Labor Eco-
      nomics, April 2005, with Christopher Bollinger, pp. 235-257.

24.   “The Productivity of Physician Specialization: Evidence from the Medicare Program” American
       Economic Review, Papers and Proceedings 93(2), May 2004, with Katherine Baicker, pp. 357-361.

25.   “Children, Nondiscriminatory Provision of Fringe Benefits, and Household Labor Market
      Decisions,” Research in Labor Economics 22(1), 2003, with Mark C. Berger, Dan A. Black, and
      Frank A. Scott, pp. 309-349.
26.   “Labor Market Dropouts and the Racial Wage Gap: 1940-1990” American Economic Review,
      Papers and Proceedings 89(2), May 2000, pp. 333-338.
27.   “Does Public Infrastructure Affect Economic Activity? Evidence from the Interstate Highway
      System” with Eric Thompson, Regional Science and Urban Economics 30(4), July 2000, 457-490.

28.   “Health Insurance Coverage of the Unemployed: COBRA and the Potential Effects of Kasse-
      baum-Kennedy,” Journal of Policy Analysis and Management 18(3), Summer 1999, with Mark C.
      Berger, Dan A. Black and Frank A. Scott, pp. 430-448.
29.   “Taxes and the Timing of Births,” Journal of Political Economy 107(1), February 1999, with Stacy
      Dickert-Conlin, pp. 161-177.




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30.   “Profiling Workers for Unemployment Insurance,” in David D. Balducchi (Ed.). Worker Profil-
      ing and Reemployment Services Systems. U.S. Department of Labor, 1997, (Washington, D.C.:
      Government Printing Office), with Mark C. Berger and Dan A. Black, pp. 47-54.



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31.    Baicker, Katherine, and Amitabh Chandra. "What Values and Priorities Mean for Health Re-
       form." New England Journal of Medicine 383, no. 15 (October 8, 2020).

32.    Grischkan, Justin A., Ari B. Friedman, and Amitabh Chandra. "Moving the Financing of
       Graduate Medical Education Into the 21st Century." JAMA, the Journal of the American Medical
       Association 324, no. 11 (September 15, 2020).

33.    Pian, Julia, Amitabh Chandra, and Ariel Dora Stern. "The Past, Present, and (Near) Future of
       Gene Therapy and Gene Editing." NEJM Catalyst Innovations in Care Delivery 1, no. 5 (Sep-
       tember–October 2020).
34.    Baicker, Katherine, and Amitabh Chandra. "Do We Spend Too Much on Health Care?" New
       England Journal of Medicine 383, no. 7 (August 13, 2020): 605–608.

35.    Kakani, Pragya, Amitabh Chandra, Sendhil Mullainathan, and Ziad Obermeyer "Allocation of
       COVID-19 Relief Funding to Disproportionately Black Counties." JAMA, the Journal of the
       American Medical Association 324, no. 10 (September 8, 2020): 1000–1003.

36.    McCormack, Grace, Christopher Avery, Ariella Kahn-Lang Spitzer, and Amitabh Chandra.
       "Economic Vulnerability of Households with Essential Workers." JAMA, the Journal of the
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37.    Chandra, Amitabh, Mark Fishman, and Douglas Melton. "A Detailed Plan for Getting Ameri-
       cans Back to Work." Harvard Business Review Digital Articles, April 1, 2020.

38.    Khullar D, Fisher J, Chandra A. Trickle Down Innovation and the Longevity of Nations. Lancet.
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39.    Bagley, Nicholas, Amitabh Chandra, Craig Garthwaite, and Ariel Dora Stern. "It's Time to Re-
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40.    Baicker K, Chandra A. Challenges in Understanding Differences in Health Care Spending Be-
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42.    Baicker K, Chandra A. Evidence Based Health Policy. New England Journal of Medicine. Decem-
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49.   Sahni NR, Dalton M, Cutler DM, Birkmeyer JD, Chandra A. Surgeon specialization and opera-
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      (Millwood). 2015 Feb;34(2):220-8. doi: 10.1377/hlthaff.2014.0986. PubMed PMID: 25646101.
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57.   Goldman, Dana, Amitabh Chandra and Darius Lakdawalla. It’s Easier to Measure the Cost of
      Health Care than Its Value. Harvard Business Review. November 18, 2014. Available at https://
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58.   Yasaitis LC, Bubolz T, Skinner JS, Chandra A. Local population characteristics and he-
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60.   Chandra A, Khullar D, Wilensky GR. The economics of graduate medical education. New Eng-
      land Journal of Medicine 2014 Jun 19;370(25):2357-60. doi: 10.1056/NEJMp1402468. Epub 2014
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      factors--reply. JAMA Intern Med. 2014 May;174(5):822-3. doi: 10.1001/jamainternmed.2014.35.
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                                                Appendix B
                                            Materials Relied Upon



  I.      COURT DOCUMENTS

       Complaint, Association of Community Cancer Centers, on behalf of itself and its members;
       Global Colon Cancer Association, on behalf of itself and its members; National Infusion Center
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       Department of Health and Human Services; Seema Verma, in her official capacity of
       Administrator of the Centers for Medicare and Medicaid Services; Centers for Medicare and
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                                                                              Exhibit 1.a

                                    Pharmaceutical spending in the United States vs. reference MFN Rule countries

               Dollars (billions)
               $600

                                                $492
               $500


               $400

                                                                                                           $298
               $300


               $200


               $100


                  $0
                                             United States                                   Reference MFN Rule countries
Notes:
[1] Pharmaceutical spending was reported at various times across countries (2019Q2-2020Q1) and cover the 12 months preceding the date when the data were
reported. Spending does not include all discounts and rebates.
[2] "Reference MFN Rule countries" include Australia, Austria, Belgium, Canada, Denmark, Finland, France, Germany, Ireland, Italy, Japan, Netherlands, Norway,
South Korea, Spain, Sweden, Switzerland, and the U.K. Data are not available for Iceland, Israel, Luxembourg, and New Zealand.

Sources:
[1] IQVIA MIDAS from IQVIA Pricing and Reimbursement Country Guides.
[2] MFN Rule, (p. 76200).
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                                                                               Exhibit 1.b

                                    Most recent annual pharmaceutical spending in reference MFN Rule countries


  Dollars (billions)
  $100
   $90                                                                                                                                                      $79
                                                                                                                                                          (16.1%)
   $80
   $70
   $60                                                                                                                                             $47
                                                                                                                                                 (9.5%)
   $50                                                                                                                                    $35
   $40                                                                                                                                  (7.2%)
                                                                                                                               $26
                                                                                                                        $24
                                                                                                                 $22         (5.3%)
   $30                                                                                                         (4.5%)
                                                                                                                      (4.9%)
                                                                                                     $12
   $20                                                                                        $10
                                                      $5              $5        $6     $7          (2.5%)
             $3     $3     $3     $3     $4     $5                                          (2.1%)
   $10                                               (1%)            (1%)     (1.2%) (1.4%)
           (0.5%) (0.6%) (0.6%) (0.7%) (0.8%) (0.9%)
     $0




Notes:
[1] This analysis is limited to reference MFN Rule countries. Data are not available for Iceland, Israel, Luxembourg, and New Zealand.
[2] The numbers in parentheses represent pharmaceutical spending as a share of U.S. spending in each country. Pharmaceutical spending in the U.S. in 2019 is $492
billion. Spending does not include all discounts and rebates.
[3] Sales were reported at various times across countries (2019Q2-2020Q1) and cover the 12 months preceding the date when the data were reported.

Sources:
[1] IQVIA MIDAS from IQVIA Pricing and Reimbursement Country Guides.
[2] MFN Rule, (p. 76200).
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                                                                              Exhibit 2

                                   Availability of newer oncology drugs in select reference MFN Rule countries
                                                                      2018

Percent of newer drugs available
100%                                                                                                                                                      96%
 90%
                                                                                                                                           80%
 80%                                                                                                                       76%
                                                                                                           69%
 70%                                                                                        65%
                                                                            61%
 60%                                         54%             56%
                              52%
 50%          46%
 40%
 30%
 20%
 10%
   0%
         South Korea Australia               Japan          Spain          Canada           Italy         France         United         Germany          United
                                                                                                                        Kingdom                          States
Notes:
[1] This chart is based on 54 drugs launched in 2013-2017.
[2] Drugs are not available in countries when the manufacturer does not file for regulatory approval, when there is a delay or denial in approval, or when there is a
delay in pricing negotiations prior to a drug's launch. The source does not indicate which of the aforementioned scenarios leads to each delay.
[3] This analysis is limited to select reference countries listed in the MFN Rule.

Sources:
[1] "Global Oncology Trends 2019 - Therapeutics, Clinical Development and Health System Implications," IQVIA Institute, May 2019, Exhibit 24, p. 31, available at
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[2] Mikulic, Matej, "Availability of new cancer drugs launched in 2013-2017 in selected countries as of 2018," Statista, June 7, 2019, available at:
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[3] MFN Rule, (p. 76200).
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                                                                            Exhibit 3

                                                            Availability of all MFN Rule drugs
Percent of drugs available                                                  2019
                                                                                                                                                            100%
100%                                                                                 96%
                                 90% 90% 92% 92% 92% 92% 92% 94% 94% 94% 94% 94% 94%
                             88%
 90%             84% 86% 86%
 80%
          71%
 70%
 60%
 50%
 40%
 30%
 20%
 10%
  0%




Notes:
[1] Drugs that were launched by the end of 2019 are considered available. The launch date in each country is identified as the first date in which the IQVIA data
report sales for an MFN Rule drug's molecule.
[2] The analysis is based on all MFN Rule drugs (N=49). The branded and biosimilar forms of pegfilgrastim are considered one drug in this analysis, because they
share the same molecule.

Sources:
[1] MFN pull for AG_120420.xlsx.
[2] Supporting Documentation for CMS-5528-IFC: Most Favored Nation (MFN) Model for Medicare Part B Drugs, Appendix B, available at
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                                                                            Exhibit 4.a

                                                                    Sales launch
                                Average time between first global launch and launch in reference MFN Rule country
       Months
       60                                                                                                                                          56     57
                                                                                                                                             55
                                                                                                                                       48
       50
                                                                                                                          41    43
       40                                                                                                           34
                                                                                                       28    29
       30                                                                                 25     26
                                                           22    23    23     23    24
                                                    21
       20                  16     16    17    18
                     14
       10      7

         0




Notes:
[1] The analysis includes all of the MFN Rule drugs for which marketing approval data are available (N=46).
[2] The numbers in parentheses in the axis labels represent the total number of products approved in that country.
[3] Bendamustine, leuprorelin, paclitaxel, and octreotide are excluded from the analysis as the corresponding brand names in the data differ from branded products
specified by HCPCS codes in the MFN Rule.
[4] Orthovisc and Injectafer are excluded from the analysis as their launch dates occurred outside the scope of IQVIA's audit which means that the actual launch date
may be different from that reported in the data.

Sources:
[1] Market Access MNF NAS49_120620.xlsx.
[2] MFN Rule, Table 2 (p. 76194).
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                                                                              Exhibit 4.b

                                                                     Sales launch
                              Time distribution between first global launch and launch in reference MFN Rule country

        Legend                0-6 mo                       6-12 mo                     13-23 mo               24 months and above          Never launched

        Iceland    4%         9%                   17%                                       46%                                                24%
         Israel    4% 2%                           30%                                                    52%                                          11%
   South Korea         7%     4%                   24%                                                  52%                                            13%
       Belgium         9%           7%                            37%                                                     41%                                7%
   Luxembourg          9%                13%                      24%                                                48%                                     7%
  New Zealand          9%          4%        11%                           33%                                                  43%
         Spain         9%                    20%                                 33%                                            33%                          7%
          Italy         11%                  13%                                 41%                                              28%                        7%
         Japan          11%             7%         9%                                             61%                                                  13%
        Ireland             13%                    17%                            30%                                        30%                         9%
      Australia             15%                      17%                    17%                                 33%                               17%
        France              15%                    15%                             33%                                          28%                      9%
        Canada                20%                           22%                           20%                               28%                        11%
      Denmark                     22%                                   35%                                   15%                     22%                    7%
   Netherlands                    22%                       17%                   13%                                  39%                               9%
        Austria                    24%                               24%                                 28%                              17%                7%
       Finland                     24%                                     33%                                 17%                        20%                7%
      Germany                      24%                                      35%                                13%                        24%                4%
    Switzerland                     26%                              20%                           26%                                22%                    7%
United Kingdom                      26%                                 26%                                   24%                         17%                7%
       Sweden                            33%                                       28%                              15%                   17%                7%
       Norway                                35%                                       28%                          11%                   20%                7%
  United States                                                              85%                                                                7% 2% 7%
                  0%              10%          20%          30%            40%           50%            60%           70%           80%          90%          100%
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Notes:
[1] The analysis includes all of the MFN Rule drugs for which marketing approval data are available (N=46).
[2] Bendamustine, leuprorelin, paclitaxel, and octreotide are excluded from the analysis as the corresponding brand names in
the data differ from branded products specified by HCPCS codes in the MFN Rule.
[3] Orthovisc and Injectafer are excluded from the analysis as their launch dates occurred outside the scope of IQVIA's audit
which means that the actual launch date may be different from that reported in the data.

Sources:
[1] Market Access MNF NAS49_120620.xlsx.
[2] MFN Rule, Table 2 (p. 76194).
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                                                                                        Exhibit 5
                                                              Drug pricing regimes in select reference MFN Rule countries

                                                                                                Role for international reference        Countries included in reference pricing       Total GDP (PPP)
          Country                Healthcare system    Main factors determining price
                                                                                                             pricing                                    basket                        relative to US ($)
                                                                                               Yes; price of reimbursed drugs           Austria, Belgium, Denmark, Finland,
Ireland
                             Universal single-payer International reference pricing            cannot be higher than the average        France, Germany, Greece, Italy,
Population: 5.2m                                                                                                                                                                            1.9%
                             (two-tiered).          and cost-effectiveness.                    price of the drug in reference           Luxembourg, the Netherlands, Portugal,
GDP per Capita (PPP): 73,200
                                                                                               countries.                               Spain, Sweden, and the U.K.
                                                                                               Yes; 50% weight placed on price in
Switzerland                                                                                                                             Austria, Belgium, Denmark, Finland,
                             Universal private         International reference pricing         international reference countries. The
Population: 8.4m                                                                                                                        France, Germany, the Netherlands, Sweden,           2.6%
                             multi-payer.              and internal reference pricing.         other 50% is placed on cost of
GDP per Capita (PPP): 62,100                                                                                                            and the U.K.
                                                                                               internal comparators.

Netherlands
                             Universal private         International reference pricing         Yes; reference pricing at the mean of
Population: 17.3m                                                                                                                       Belgium, France, Norway, and the U.K.               4.7%
                             multi-payer.              and internal reference pricing.         reference basket.
GDP per Capita (PPP): 53,900

Sweden                                                 Cost per QALY, need and
                             Universal single-
Population: 10.2m                                      solidarity principle, and human         No.                                      --                                                  2.6%
                             payer.
GDP per Capita (PPP): 51,200                           value principle.

                                                                                                                                        Austria, Belgium, Czech Republic,
Germany
                                                    Internal reference pricing and                                                      Denmark, Finland, France, Greece, Ireland,
Population: 80.2m            Universal multi-payer.                                            Yes; no binding rules.                                                                      20.5%
                                                    additional therapeutic value.                                                       Italy, the Netherlands, Portugal, Slovakia,
GDP per Capita (PPP): 50,800
                                                                                                                                        Spain, Sweden, and the U.K.

Australia                                                                                                                               Reasonably comparable overseas countries,
                             Universal single-
Population: 25.5m                                      Internal reference pricing.             Yes; no binding rules.                   including Canada, New Zealand, and the              6.5%
                             payer.
GDP per Capita (PPP): 50,400                                                                                                            U.K.

Denmark                                                                                                                                 Austria, Belgium, Finland, Germany,
                             Universal single-         Internal reference pricing and          Yes for hospital-administered drugs
Population: 5.9m                                                                                                                        Ireland, the Netherlands, Norway, Sweden,           1.5%
                             payer.                    additional therapeutic value.           only; no binding rules.
GDP per Capita (PPP): 50,100                                                                                                            and the U.K.

                             Universal single-payer
Canada                                              International reference pricing,                                                    Australia, Belgium, France, Germany, Italy,
                             (outpatient drug                                                  Yes; reference pricing varies
Population: 37.7m                                   internal reference pricing, and                                                     Japan, the Netherlands, Norway, Spain,              9.2%
                             coverage not                                                      depending on HTA.
GDP per Capita (PPP): 48,400                        cost per QALY.                                                                      Sweden, and the U.K.
                             guaranteed).

Belgium                                             Cost-effectiveness, additional             Yes; price in other EU countries is
Population: 11.7m            Universal multi-payer. therapeutic value, and costs of            considered as part of the pricing        EU countries.                                       2.7%
GDP per Capita (PPP): 46,600                        production.                                decision, but no binding rules.

United Kingdom
                             Universal single-
Population: 65.8m                                      Cost per QALY.                          No.                                      --                                                 14.6%
                             payer.
GDP per Capita (PPP): 44,300
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                                                                                                     Exhibit 5
                                                                           Drug pricing regimes in select reference MFN Rule countries

                                                                                                              Role for international reference           Countries included in reference pricing            Total GDP (PPP)
              Country                    Healthcare system         Main factors determining price
                                                                                                                           pricing                                       basket                             relative to US ($)

 France                       Universal multi-payer
                                                                   Internal reference pricing and            Yes for high value drugs; bounded by
 Population: 67.8m            but almost single                                                                                                   Germany, Italy, Spain, and the U.K.                              15.0%
                                                                   additional therapeutic value.             min/max of reference basket.
 GDP per Capita (PPP): 44,100 payer.

 Japan                                                Internal reference pricing,
                                                                                                             Yes; price adjustments based on
 Population: 125.5m           Universal multi-payer. additional therapeutic value, and                                                                   France, Germany, the U.K., and the U.S.                   27.1%
                                                                                                             reference countries.
 GDP per Capita (PPP): 42,900                        costs of production.

 Republic of Korea                                                 International reference pricing,                                                      Typically: Australia, France, Germany, Italy,
                              Universal single-                                                              Yes; referenced during price
 Population: 51.8m                                                 cost-effectiveness, and additional                                                    Japan, Singapore, Spain, Switzerland,                     10.3%
                              payer.                                                                         negotiations for innovative drugs.
 GDP per Capita (PPP): 39,500                                      therapeutic value.                                                                    Taiwan, the U.K., and the U.S.

                                                                   International reference pricing,
 Italy                                                                                                       Yes; baseline for price negotiations
                              Universal single-                    internal reference pricing, cost-
 Population: 62.4m                                                                                           and used to set price of some generic       EU countries.                                             12.0%
                              payer.                               effectiveness, and additional
 GDP per Capita (PPP): 38,200                                                                                drugs.
                                                                   therapeutic value.

 Israel                                                                                                      Yes; maximum price is the average
                                                                                                                                                     Belgium, France, Germany, Hungary, Spain,
 Population: 8.7m             Universal multi-payer. International reference pricing.                        of the lowest priced three countries in                                                                1.6%
                                                                                                                                                     the Netherlands, and the U.K.
 GDP per Capita (PPP): 36,400                                                                                reference basket.

Note:
[1] Select MFN Rule countries are ordered by descending GDP per capita (PPP). The following MFN Rule countries are not included: Austria, Finland, Iceland, Luxembourg, New Zealand, Norway, and Spain.

Sources:
[1] CIA World Factbook, Country Comparison, available at https://www.cia.gov/library/publications/resources/the-world-factbook/fields/211rank.html; https://www.cia.gov/library/publications/the-world-
factbook/fields/335rank.html, accessed on November 23, 2020.
[2] IQVIA Pharma Pricing & Reimbursement Country Guides; Tikkanen, R. et al., “International Health Care System Profiles - Israel,” Commonwealth Fund, available at https://www.commonwealthfund.org/international-
health-policy-center/countries/israel; Whatstein, Liad, “Medicinal product regulation and product liability in Israel: overview,” Thomson Reuters Practical Law, available at https://uk.practicallaw.thomsonreuters.com/w-016-
6339?transitionType=Default&contextData=(sc.Default)&firstPage=true; “International Reference Pricing Guidebook: Australia,” IHS, September, 2019.
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                                                            Exhibit 6

                                           Marketing approval to coverage decision
                 Average time between marketing approval and coverage decision within select reference MFN Rule
                                        countries for oncology product/indications pairs
Months
25                               Average time between application for and granting of coverage
                                 Average time between marketing approval and application for coverage

                           Average time between marketing approval and coverage in the U.S.: 0 months
20




15
                                                                                          13
                                                                10

10
                                                                                                                  16
                                       10
             4

 5
                                                                 7                        7
             5
                                       3
                                                                                                                  1
 0
         Sweden (19)             Belgium (18)              Norway (17)               France (17)           Ireland (18)
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Notes:
[1] This analysis is based on 31 oncology product/indications approved since 2014.
[2] The numbers in parentheses in the axis labels represent the total number of product/indications approved and covered in that country, with
available information on the date of the coverage decision.
[3] Coverage dates are only available for a subset of the products/indications approved and covered in Belgium, France, Norway, and Sweden.
Thus their timing averages are based on a smaller subset of products/indications than were actually approved and covered.
[4] This analysis is based on the following indications: metastatic breast cancer, non-small cell lung cancer, colorectal cancer, melanoma, and
multiple myeloma.
[5] This analysis is limited to select reference countries listed in the MFN Rule.
[6] The date of the coverage decision in the U.S. is assumed to be simultaneous with the date of its marketing approval.

Sources:
[1] "Addressing Challenges in Access to Oncology Medicines -Analytical Report," OECD, 2020, Table 3.3 and Figure 3.3, pp. 53, 57, available
at https://www.oecd.org/health/health-systems/Addressing-Challenges-in-Access-to-Oncology-Medicines-Analytical-Report.pdf.
[2] MFN Rule, Table 4 (pp. 76203-76204).
                                                                          Case 1:20-cv-03531-CCB Document 24-13 Filed 12/10/20 Page 84 of 87




                                                                                                                  Exhibit 7
                                                                                     Summary of MFN Rule drugs with FDA novel drug designations

              MFN Rule drugs HCPCS codes list                                                     Associated product information                                                        FDA novel drug designations

                                             2019 total allowed                                                                                                                                                 First
     HCPCS                                                                                 Approval                                                                Accelerated    Break-     Fast   First-in-          Orphan Priority
Rank                 Short description         charges, after         Brand name                        Drug used to treat/as                                                                                 approved
      code                                                                                   year                                                                   approval     through    track     class             drug  review
                                              exclusions ($m)                                                                                                                                                  in U.S.
                                                                  Brand_Name              roval_year

 1    J0178   Aflibercept injection               $2,982.9               Eylea               2011      Wet (neovascular) age-related macular degeneration (AMD)                                                 ✓                ✓


                                                                                                                                                                       ✓           ✓                   ✓        ✓        ✓       ✓
                                                                                                       Advanced/unresectable melanoma, lung cancer, head and
 2    J9271   Inj pembrolizumab                   $2,815.3              Keytruda             2014
                                                                                                       neck cancer, Hodgkin lymphoma, and stomach cancer

 3    J9299   Injection, nivolumab                $1,879.0               Opdivo              2014      Unresectable or metastatic melanoma                             ✓           ✓          ✓                          ✓       ✓


 4    J9312   Inj., rituximab, 10 mg              $1,866.0              Rituxan              1997      Non-Hodgkin’s lymphoma                                                      ✓*                                   ✓*       ✓*


 5    J0897   Denosumab injection                 $1,721.6            Prolia/Xgeva           2010      Osteoporosis in postmenopausal women                                                                             ✓*


 6    J2778   Ranibizumab injection               $1,295.3              Lucentis             2006      Wet age-related macular degeneration (AMD)                                  ✓*                                            ✓*


 7    J2505   Injection, pegfilgrastim 6mg        $1,242.7              Neulasta             2002      Infection in patients with non-myeloid malignancies                                                              ✓*


 8    J9035   Bevacizumab injection               $1,099.5              Avastin              2004      Metastatic colorectal cancer                                                ✓*                                    ✓


 9    J1745   Infliximab not biosimil 10mg        $1,010.3             Remicade              1998      Crohn’s disease                                                                       ✓*                         ✓*       ✓*


 10   J0129   Abatacept injection                   $968.6              Orencia              2005      Adult rheumatoid arthritis                                                  ✓*


 11   J9355   Inj trastuzumab excl biosimi          $851.0             Herceptin             1998      HER2-overexpressing breast cancer                                                                                ✓*


 12   J9145   Injection, daratumumab 10 mg          $843.7              Darzalex             2015      Multiple myeloma                                                ✓           ✓          ✓        ✓        ✓        ✓       ✓


 13   J2350   Injection, ocrelizumab, 1 mg          $703.1              Ocrevus              2017      Multiple sclerosis                                                          ✓          ✓        ✓        ✓                ✓


 14   J1300   Eculizumab injection                  $562.4               Soliris             2007      Paroxysmal nocturnal hemoglobinuria (PNH)                                                                         ✓


                                                                                                                                                                       ✓                                                ✓*       ✓
                                                                                                       Locally advanced or metastatic nonsquamous non-small cell
 15   J9305   Pemetrexed injection                  $539.7               Alimta              2004
                                                                                                       lung cancer and mesothelioma


 16   J9022   Inj, atezolizumab,10 mg               $486.6              Tecentriq            2016      Metastatic urothelial carcinoma                                 ✓           ✓                            ✓                ✓


 17   J9173   Inj., durvalumab, 10 mg               $476.6               Imfinzi             2017      Locally advanced or metastatic urothelial carcinoma             ✓           ✓                            ✓                ✓


 18   J2353   Octreotide injection, depot           $467.0        Sandostatin Lar Depot      1998      Metastatic carcinoid tumors                                                                                       ✓       ✓
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                                                                                                            Exhibit 7
                                                                                 Summary of MFN Rule drugs with FDA novel drug designations

              MFN Rule drugs HCPCS codes list                                                Associated product information                                                              FDA novel drug designations

                                             2019 total allowed                                                                                                                                                  First
     HCPCS                                                                            Approval                                                                      Accelerated    Break-     Fast   First-in-          Orphan Priority
Rank                 Short description         charges, after       Brand name                    Drug used to treat/as                                                                                        approved
      code                                                                              year                                                                         approval     through    track     class             drug  review
                                              exclusions ($m)                                                                                                                                                   in U.S.

                                                                                                 Crohn’s disease and moderately to severely active
 19   J0717   Certolizumab pegol inj 1mg            $458.8            Cimzia            2008
                                                                                                 rheumatoid arthritis


 20   J9041   Inj., velcade 0.1 mg                  $436.3            Velcade           2003     Multiple myeloma                                                                   ✓                                     ✓       ✓


 21   J2357   Omalizumab injection                  $423.9             Xolair           2003     Moderate to severe persistent asthma                                               ✓


 22   J0585   Injection,onabotulinumtoxina          $389.2             Botox            1991     Chronic migraine


 23   J1602   Golimumab for iv use 1mg              $368.5          Simponi Aria        2013     Moderately to severely active rheumatoid arthritis                                                                       ✓


                                                                                                                                                                                               ✓                 ✓                ✓
                                                                                                 Certain bowel disorders including ulcerative colitis and
 24   J3380   Injection, vedolizumab                $362.1            Entyvio           2014
                                                                                                 Crohn's disease


                                                                                                                                                                        ✓*                                                ✓
                                                                                                 Metastatic breast cancer after failure of combination
 25   J9264   Paclitaxel protein bound              $333.3           Abraxane           2005
                                                                                                 chemotherapy


                                                                                                                                                                                    ✓*         ✓        ✓        ✓        ✓       ✓
                                                                                                 Unresectable or metastatic melanoma in adults and pediatric
 26   J9228   Ipilimumab injection                  $331.1            Yervoy            2011
                                                                                                 patients

 27   J9217   Leuprolide acetate suspnsion          $331.0            Eligard           2002     Advanced prostatic cancer


 28   J9306   Injection, pertuzumab, 1 mg           $318.0            Perjeta           2012     HER2-positive metastatic breast cancer                                                                          ✓                ✓


 29   J9047   Injection, carfilzomib, 1 mg          $296.8            Kyprolis          2012     Relapsed or refractory multiple myeloma                                ✓                      ✓                 ✓        ✓


 30   J3262   Tocilizumab injection                 $279.1            Actemra           2010     Rheumatoid arthritis                                                               ✓                                     ✓


                                                                                                                                                                                                                          ✓       ✓
                                                                                                 Unresectable, locally advanced or metastatic
 31   J1930   Lanreotide injection                  $278.6        Somatuline Depot      2007
                                                                                                 gastroenteropancreatic neuroendocrine tumors

                                                                                                 Moderate to severe plaque psoriasis, active psoriatic arthritis,
 32   J3357   Ustekinumab sub cu inj, 1 mg          $264.4            Stelara           2009
                                                                                                 and moderately to severely active Crohn's disease


 33   J0881   Darbepoetin alfa, non-esrd            $258.4            Aranesp           2001     Anemia due to chronic kidney disease or chemotherapy


 34   J2323   Natalizumab injection                 $255.4            Tysabri           2004     Multiple sclerosis and Crohn's disease                                 ✓


                                                                                                                                                                                                                          ✓       ✓
                                                                                                 Thrombocytopenia in patients with chronic immune
 35   J2796   Romiplostim injection                 $248.2             Nplate           2008
                                                                                                 thrombocytopenia


                                                                                                                                                                                                                          ✓
                                                                                                 Chronic lymphocytic leukemia and indolent B-cell non-
 36   J9034   Inj., bendeka 1 mg                    $219.2            Bendeka           2015
                                                                                                 Hodgkin lymphoma
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                                                                                                            Exhibit 7
                                                                                 Summary of MFN Rule drugs with FDA novel drug designations

              MFN Rule drugs HCPCS codes list                                                Associated product information                                                          FDA novel drug designations

                                             2019 total allowed                                                                                                                                              First
     HCPCS                                                                            Approval                                                                  Accelerated    Break-     Fast   First-in-          Orphan Priority
Rank                 Short description         charges, after      Brand name                     Drug used to treat/as                                                                                    approved
      code                                                                              year                                                                     approval     through    track     class             drug  review
                                              exclusions ($m)                                                                                                                                               in U.S.


 37   J0885   Epoetin alfa, non-esrd                $187.5        Epogen/Procrit        1989     Anemia due to chronic kidney disease or chemotherapy                                                                 ✓


 38   Q2043 Sipuleucel-t auto cd54+                 $182.2          Provenge            2010     Metastatic castrate resistant prostate cancer                                  ✓


 39   J2182   Injection, mepolizumab, 1mg           $177.6           Nucala             2015     Asthma symptoms                                                                                    ✓        ✓


 40   J1439   Inj ferric carboxymaltos 1mg          $173.0          Injectafer          2013     Iron-deficiency anemia


 41   J9042   Brentuximab vedotin inj               $162.5           Adcetris           2011     Stage III or IV classical Hodgkin lymphoma                         ✓                      ✓        ✓        ✓        ✓       ✓


                                                                                                                                                                                ✓*                                            ✓*
                                                                                                 Cell carcinoma of the head and neck or Metastatic colorectal
 42   J9055   Cetuximab injection                   $162.5           Erbitux            2004
                                                                                                 carcinoma

 43   J9354   Inj, ado-trastuzumab emt 1mg          $157.4           Kadcyla            2013     HER2-positive, metastatic breast cancer                                                   ✓        ✓        ✓                ✓


 44   Q5111 Injection, udenyca 0.5 mg               $155.5           Udenyca            2018     Infection in patients with non-myeloid malignancies


 45   J7324   Orthovisc inj per dose                $152.4          Orthovisc           2004     Pain in osteoarthritis (OA) of the knee

                                                                                                 Pharmacologic stress agent indicated for radionuclide
 46   J2785   Regadenoson injection                 $150.3          Lexiscan            2008
                                                                                                 myocardial perfusion imaging (MPI)


 47   J0517   Inj., benralizumab, 1 mg              $137.0           Fasenra            2017     Severe asthma                                                                                               ✓


 48   J2507   Pegloticase injection                 $123.9          Krystexxa           2010     Chronic gout                                                                                                         ✓


                                                                                                                                                                                ✓                   ✓        ✓        ✓       ✓
                                                                                                 Multiple myeloma in patients who have received one to three
 49   J9176   Injection, elotuzumab, 1mg            $123.7          Empliciti           2015
                                                                                                 prior medications

 50   J9311   Inj rituximab, hyaluronidase          $121.6        Rituxan Hycela        2017     Large B-cell lymphoma
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Notes:
[1] The FDA Novel Drug Approvals list does not contain vaccines, allergenic products, blood and blood products, plasma derivatives, cellular and gene therapy products, or other products approved by the Center for Biologics Evaluation and Research.
[2] For the FDA Novel Drug Designations see FDA New Drugs Reports (see Appendix B). "Accelerated Approval" is granted to drugs based on markers that predict a reasonable benefit, with more testing to confirm clinical benefit after approval;
"Breakthrough" refers to drugs with preliminary clinical evidence demonstrating that it may result in substantial improvement in at least one clinically significant endpoint over available therapies; "Fast-track" refers to drugs that can treat unmet
medical needs; "First-in-Class" refers to drugs with a new and unique mechanism for treating a medical condition; "Priority Review" designation is given to drugs with the potential to provide a significant advance in existing medical care; "Orphan"
refers to drugs approved for small populations of patients with rare diseases. Note that some drugs classified as "Innovative" by the FDA do not have any of the additional Novel Drug Designations.
[3] Asterisks indicate drugs that received a FDA novel drug designation a few years after their original approval, when used in combination therapy or for a new indication.
[4] Bendamustine, iron ferric, leuprorelin, octreotide, paclitaxel, rituximab, denosumab, and epoetin alfa are included in this analysis with the brand names Bendeka, Injectafer, Eligard, Sandostatin LAR Depot, Abraxane, Rituxan, Prolia/Xgeva, and
Epogen, respectively.


Sources:
[1] MFN Rule, Table 2 (p. 76194).
[2] CMS Part B Dashboard Data 2018: https://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-Reports/Information-on-Prescription-Drugs/MedicarePartB.
[3] FDA New Drugs Reports (see Appendix B).
[4] U.S Food & Drug Administration, "Drugs@FDA: FDA-Approved Drugs," available at https://www.accessdata.fda.gov.
[5] U.S. Food & Drug Administration, "Search Orphan Drug Designations and Approvals," available at https://www.accessdata.fda.gov/scripts/opdlisting/oopd/index.cfm.
[6] Genentech, "FDA Approves Genentech's Rituxan (Rituximab) for Pemphigus Vulgaris," available at https://www.gene.com/media/press-releases/14727/2018-06-07/fda-approves-genentechs-rituxan-rituxima.
[7] "FDA Breakthrough Therapy: Approval of Genentech's Lucentis for Diabetic Retinopathy," available at https://orphandruganaut.wordpress.com/2015/02/09/fda-breakthrough-therapy-approval-of-genentechs-lucentis-for-diabetic-retinopathy/.
[8] "FDA Grants Breakthrough Therapy Designation for Atezolizumab/Bevacizumab Combination as First-Line Treatment for Advanced of Metastatic HCC," available at https://ascopost.com/News/59089.
[9] "Bristol-Myers Squibb Announces U.S. FDA Breakthrough Therapy Designation for ORENCIA® (abatacept) to Help Prevent Acute Graft," available at https://news.bms.com/news/details/2019/Bristol-Myers-Squibb-Announces-US-FDA-
Breakthrough-Therapy-Designation-for-ORENCIA-abatacept-to-Help-Prevent-Acute-Graft/default.aspx.
[10] "FDA Approves Lilly's Alimta (pemetrexed) for the Second-Line Treatment of Advanced Lung Cancer," available at https://investor.lilly.com/news-releases/news-release-details/fda-approves-lillys-alimta-pemetrexed-second-line-treatment.
[12] "FDA Grants Breakthrough Therapy Designation for Daratumumab in Combination with Standard of Care for Multiple Myeloma," available at https://ascopost.com/News/43775.
[13] "FDA grants Breakthrough Therapy Designation for Xolair (omalizumab) for food allergies," available at https://www.roche.com/investors/updates/inv-update-2018-08-13.htm.
[14] "FDA grants Roche's Tecentriq in combination with Abraxane accelerated approval for people with PD-L1-positive, metastatic triple-negative breast cancer," available at https://www.roche.com/media/releases/med-cor-2019-03-11.htm.
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